   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 1 of 65 PageID #:621




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA, et al.,

             Plaintiffs,                      Case No. 14-cv-1558

             v.

WALGREEN CO., JAMES G.                        Judge John Robert Blakey
KULEKOWSKIS, JR., and
CHRISTOPHER G. HAYES,

             Defendants.



                    MEMORANDUM OPINION AND ORDER

      Relators and Plaintiffs Sarah Castillo Baier (Castillo-Baier) and Rita Svendsen

Baier (Svendsen-Baier) (collectively Relators) have brought a qui tam action under

the False Claims Act (FCA), 31 U.S.C. § 3729 et seq., (Counts I & II) and its Illinois

counterpart, the Illinois False Claims Act (IFCA), 740 ILCS Comp. Stat. 175/1 et seq.,

(Counts III & IV) on behalf of the United States and the State of Illinois. [65].

      Relators sue     Defendants Walgreen Co.        (Walgreens) and James G.

Kulekowskis, alleging that they induced patients and providers to use a Walgreens

specialty pharmacy location by: (1) routinely and systematically waiving copayments

for Medicaid and Medicare patients; and (2) automatically refilling prescriptions for

these same patients. Id. ¶¶ 3, 185. On September 27, 2018, Defendants Walgreens

and Kulekowskis moved to dismiss Relators’ Second Amended Complaint (SAC). [70].




                                         1
      Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 2 of 65 PageID #:621




          On August 7, 2018, the United States and State of Illinois (collectively the

Government) filed a Joint Complaint in Intervention (JCI) against Defendants

Walgreens, Kulekowskis, and Christopher G. Hayes 1 pursuant to the FCA (Counts I

& II) and ICFA (Counts III & IV), alleging that they automatically refilled

prescriptions for Illinois Medicaid patients at the same Walgreens specialty

pharmacy at issue in Relators’ SAC. [64] ¶¶ 1, 3. The Government also brought

claims for common law fraud (Count V), unjust enrichment (Count VI), and payment

by mistake (Count VII) 2 based upon these same allegations. [64] ¶¶ 104−11. The

Government, unlike Relators, did not bring claims based upon any copayment

waivers.       See generally [64].      On September 27, 2018, Defendants Walgreens,

Kulekowskis, and Hayes moved to dismiss the Government’s JCI. [68].

          For the reasons explained below, this Court grants both motions to dismiss,

[68] [70].

I.        BACKGROUND
          The following facts come from the Government’s JCI, [64], and Relators’ SAC,

[65].

          A.     The Parties

          The federal government and state of Illinois jointly fund and administer the

Medicare and Medicaid programs in Illinois. [64] ¶¶ 7−8; [65] ¶¶ 21, 29−33.


1 Only the Government named Hayes as a Defendant; Relators’ SAC makes no mention of Hayes. See
[65] at 1 (naming only Walgreens and Kulekowskis as defendants). For clarification purposes, when
discussing the Government’s claims, this Court uses “Defendants” collectively to include Defendant
Hayes. When discussing Relators’ claims, however, this Court excludes Defendant Hayes from any
collective mention of “Defendants.”

2   The Government brings its payment by mistake claim, Count VII, only against Defendant Walgreens.


                                                 2
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 3 of 65 PageID #:621




      Defendant Walgreens is an Illinois corporation authorized to do business in the

United States, Puerto Rico, and Guam, with its corporate office in Deerfield, Illinois.

[64] ¶ 9. Walgreens operates a chain of retail drugstores that sell, among other items,

prescription drugs. Id. In addition to over 8,000 retail stores, Walgreens owns and

operates more than 700 specialty pharmacies through its Specialty Pharmacy

division. Id. This division provides specialized medication for complex, genetic, rare,

and chronic health conditions. Id. This case concerns Walgreens’ C&M Specialty

Pharmacy (C&M) located in Glenview, Illinois. Id. ¶ 3.

      Defendant James G. Kulekowskis, Jr. is a Doctor of Pharmacy (Pharm.D) and

licensed pharmacist in Illinois and Florida. Id. ¶ 10. At all times relevant to this

case, Kulekowskis worked as the pharmacy manager of C&M, with responsibility for

overseeing all business and operations there. Id. Defendant Christopher Hayes is a

licensed pharmacist. Id. ¶ 11. At all times relevant to this case, Hayes worked as

the supervisor of all pharmacists and technicians employed at the C&M location. Id.

Both Kulekowskis and Hayes reside in Illinois. Id. ¶¶ 10−11.

      Relator Castillo-Baier resides in Illinois and worked for Walgreens from July

2002 through July 2017. [65] ¶ 15. She holds a pharmacy technician certification

and began working as a Senior Certified Technician at Walgreens in 2007. Id. In

May 2013, Walgreens transferred Castillo-Baier from one of its retail pharmacy

locations in Arlington Heights to C&M.       Id. ¶ 16.   She worked as a pharmacy

technician at C&M from May 2013 through December 2013, after which Walgreens

transferred her to C&M’s finance department. Id. ¶ 17. Castillo-Baier worked in




                                         3
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 4 of 65 PageID #:621




C&M’s finance department from January 2014 until she resigned, effective July 5,

2017. Id.

      Relator Svendsen-Baier also resides in Illinois and worked for Walgreens from

February 2002 until November 2013. Id. ¶ 18. She worked as a Certified Pharmacy

Technician until November 2011, when she became a student pharmacist/pharmacy

intern and no longer required certification.     Id.   Svendsen-Baier worked with

Defendant Kulekowskis for approximately one year between 2003 and 2004, and from

time to time between May and December 2010, at C&M. Id. ¶ 19.

      B.     The Medicaid Program

      The Medicaid Program, 42 U.S.C. § 1396 et seq., is a government health

insurance program funded jointly by the federal and state governments to assist

people and families with low income and limited resources. [64] ¶ 21. The Centers

for Medicare and Medicaid Services (CMS), within the United States Department of

Health and Human Services (HHS), administers Medicaid on the federal level. Id.

¶¶ 22−23. Within broad federal rules, however, each state decides who is eligible for

Medicaid, the services covered, payment levels for services, and administrative and

operation procedures. Id. ¶ 23. The state directly pays the providers of Medicaid

services and obtains the federal share of the payment from accounts drawn on funds

of the United States Treasury. Id.

      Providers of prescription drugs for Medicaid patients who participate in the

Medicaid program are eligible for reimbursement for covered prescriptions. Id. ¶ 24.

To enroll in the Illinois Medicaid program, pharmacies must submit an enrollment




                                         4
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 5 of 65 PageID #:621




application that contains, in relevant part, a certification that “all of the information

provided in this application process is true, correct and complete and that the

enrolling provider is in compliance with all applicable federal and state laws and

regulations.”   Id. ¶ 26.   Once enrolled in the Illinois Medicaid program, each

pharmacy must sign the Illinois Medicaid Provider Agreement, which provides, in

part, that providers will comply with all current and future program policy and billing

provisions. Id. ¶ 27. Defendant Walgreens, doing business as C&M Pharmacy LLC,

executed such a Provider Enrollment Agreement with the Illinois Medicaid program

dated July 1, 2006. Id. ¶ 28.

      Claims submitted to Illinois Medicaid may also be submitted electronically.

With respect to electronically-filed claims, the Illinois Medicaid Policy Handbook

states, in relevant part:

      Paper claim forms all contain a certification statement, which the
      provider is required to sign. By signing the form, the provider is
      attesting to the accuracy of the information contained therein.

      Electronic claims and claims created by the Department do not contain
      a certification statement, nor is there a way for the provider to sign
      electronic claims at the time of submittal. Instead, the Department has
      instituted a post-payment certification as described below.

      A copy of Form HFS 194-M-C, Billing Certification, accompanies each
      remittance advice which contains an electronically submitted paid
      service or a service paid as a result of a claim created by the Department.

      It is the responsibility of the provider who provided the service and
      submitted the claim for payment to review the Remittance Advice and
      the Billing Certification form attesting the accuracy of the information
      therein.

      The same signature requirements that apply to the signing of a paper
      claim, as described in Topic 112.7.1, apply to Form HFS 194-M-C.



                                          5
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 6 of 65 PageID #:621




[65] ¶ 43.    Form 194-M-C, the billing certification form, contains the following

language: “I understand payment is made from State and Federal funds and any

falsification or concealment of a material fact may be cause for prosecution or other

appropriate legal action.” Id. ¶ 45.

        According to Relators, Walgreens received Form 194-M-C in connection with

each claim submitted electronically to Illinois Medicaid. Id. ¶ 46.

        C.    The Medicare Program

        The Medicare Program, 42 U.S.C. § 1395 et seq., is a government health

insurance program funded jointly by the federal and state governments to assist the

elderly and disabled. Id. ¶ 29. CMS administers Medicare on the federal level. Id.

¶ 30.    Medicare reimburses health care providers for covered services given to

Medicare patients. Id. ¶ 33. In doing so, Medicare determines what types of services

are covered and therefore reimbursable, and at what rate it will reimburse the

covered service. Id. Providers enrolled in the Medicare program agree to submit

claims only for medically and reasonably necessary services covered under the

program, and to only seek compensation to which the provider is legally entitled. Id.

        Pharmacies such as Walgreens who wish to enroll in Medicare must complete

Medicare Enrollment Application – Clinics/Group Practices and Certain Other

Suppliers, Form CMS-855B. Id. ¶ 34. Form 855B contains the following certification:

        I agree to abide by the Medicare laws, regulations and program
        instructions that apply to this supplier. The Medicare laws, regulations,
        and program instructions are available through the Medicare
        contractor. I understand that payment of a claim by Medicare is
        conditioned upon the claim and the underlying transaction complying



                                           6
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 7 of 65 PageID #:621




      with such laws, regulations, and program instructions (including, but
      not limited to, the Federal anti-kickback statute and the Stark law), and
      on the supplier’s compliance with all applicable conditions of
      participation in Medicare.

Id. ¶ 35.

      D.     C&M Operating Structure

      As a specialty pharmacy for complex, genetic, rare, and chronic health

conditions, C&M provides medications that are often much more expensive than

medications provided at the pharmacies in Walgreens’ retail stores. [64] ¶ 29. C&M

provides pharmaceutical services for patients at home as well as patients in medical

clinics. Id. ¶ 30. For patients in medical clinics, C&M sends their medications or

prescriptions directly to the clinic; for home patients, a Walgreens-employed driver,

or UPS, FedEx, and/or the U.S. Postal Services will deliver medications or

prescriptions directly to the patient. Id.

      C&M assigns each pharmacist or technician to a particular “department”

within the store. Id. ¶ 31. These departments include mental health, transplant,

HIV, and biologics. Id. C&M then categorizes patients into these departments based

upon the type of medications they need, and each department fills or refills their

prescriptions. Id. Accordingly, when a patient needs a prescription entered, the

pharmacist or technician for that patient’s designated department enters the

prescription. Id.

      E.     Automatic Refill Allegations

      A typical medication prescription requires a patient to take the medication

once per day, every day. Id. ¶ 32. A typical prescription is written for a 30-day supply



                                             7
      Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 8 of 65 PageID #:621




of the medication, and each prescription allows for a finite number of refills. Id.

Thus, a patient taking such medication once per day, every day, will run out of

medication after 30 days. Id.

        Prior to May 1, 2013, C&M refilled Medicaid patient prescriptions under an

“automatic refill” or “auto refill” protocol.     Id. ¶ 33.    Under such protocol, the

pharmacy automatically refilled prescriptions every 30 days (or other time period

depending upon the medication), until all prescribed refills ran out. Id.

               1.    April 2013 Provider Notice

        On April 24, 2013, HFS issued a Provider Notice to all pharmacies

participating in Illinois’ Medicaid program advising that effective May 1, 2013,

Illinois Medicaid would no longer allow pharmacies to automatically refill

prescriptions, and that “[a]ll prescription refills must be initiated by a request from

the prescriber, participant, or other person acting as an agent of the participant, e.g.,

a family member.” Id. ¶ 2. The Provider Notice also explained:

        The possession of a prescription with remaining refills authorized does
        not, in itself, constitute a request to refill the prescription. The
        department will not reimburse a pharmacy for any prescription claim
        that has been filled using an auto refill process. Any claim for a
        prescription filled without a request from the prescriber, participant
        [i.e., the patient], or agent of the participant will be subject to recovery.
        Claims for prescriptions that have been filled using auto refill and
        inadvertently billed to the department must be reversed by the
        pharmacy.

Id.    According to the Government, the auto-refill prohibition “protects limited

government resources from waste and abuse, and also protects public health and

safety by preventing prescription drugs from unnecessarily being sent to patients.”




                                            8
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 9 of 65 PageID #:621




Id. ¶ 5. In particular, sending unnecessary prescriptions to patients can result in an

individual taking a medication even after his or her provider intended that the

prescription be discontinued, or when the prescriber intended a dosage change. Id.

Moreover, receiving unnecessary prescriptions could result in the patient selling the

medication on the open market. Id.

             2.     C&M’s Reaction to the Provider Notice

      According to the Government, the Provider Notice had the potential to

negatively impact C&M’s pharmacy sales; based upon Illinois Medicaid claims data,

Medicaid-covered prescriptions constitute approximately 70% of sales at C&M. Id. ¶

39. Thus, C&M faced a significant overhaul in its method of refilling prescriptions,

as well as a threat to sales, due to the auto-refill prohibition. Id. According to the

Government, “Defendants” responded to this threat by advising all of its pharmacists

and pharmacy technicians to: (1) automatically refill all prescriptions; and (2) falsely

enter a notation in the computer system that the provider (such as a nurse in the case

of clinic patients) or the patient (in the case of home patients) specifically requested

the refill. Id. ¶ 40. The Government fails to specify which of the three named

Defendants—Kulekowskis, Hayes, and Walgreens—made this advisement. Id.

      In May 2013—when Castillo-Baier worked at C&M—C&M refill technician

Aneta Kuligowska trained Castillo-Baier on the new Illinois Medicaid Auto-Refill

Prohibition and “C&M’s method for fraudulently getting around the policy.” Id. ¶ 41.

According to the Government, every day at C&M, the store generated a computer

printout showing a list of patients for whom 30 days had passed since the patient’s




                                          9
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 10 of 65 PageID #:621




last prescription was filled. Id. ¶ 42. Despite the Provider Notice, C&M pharmacists

and technicians then auto-refilled each of the prescriptions for patients on the list,

regardless of whether the patient or a provider requested a refill. Id. When a patient

or provider did not specifically request a refill for a Medicaid-covered prescription,

C&M employees made “false and fraudulent notation[s]” that a patient or a nurse

called to request the refill, when in fact, no such refill was requested. Id. ¶ 43. And

based upon these auto-refilled prescriptions, Walgreens submitted claims for the

prescriptions to Illinois Medicaid. Id.

      The Government offers C&M pharmacy technician Candice Bundzinski’s day-

to-day experience as an example of the allegedly fraudulent auto-refill process. Id.

¶¶ 56−61. Bundzinski served as a pharmacy technician at C&M from December 2013

through August 2014. Id. ¶ 56. She began each work day by printing out a list

generated by the auto-refill system containing 15 pages of patient names. Id. ¶ 57.

From that list, Bundzinski then identified which patients required a prescription

refill based upon their 30-day medication cycle. Id. Bundzinski and other pharmacy

technicians would then process these orders and submit all requests for prescriptions

to C&M’s laboratory. Id. ¶ 58. But according to Bundzinski, she and other C&M

employees only contacted 15 percent of patients to determine whether they actually

wanted their prescriptions refilled. Id.

      Once she automatically refilled the prescription, Bundzinski then typed a note

into C&M’s computer system advising that the patient requested the refill, even if

she never spoke to the specific patient. Id. ¶ 59. Based upon C&M’s training,




                                           10
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 11 of 65 PageID #:621




Bundzinski believed these notations to be necessary for audit purposes.              Id.

Bundzinski never saw or otherwise knew of Illinois Medicaid’s prohibition of

prescription auto-refills during her tenure with C&M. Id. ¶ 60.

              3.    C&M’s Software System

        During this time period, Walgreens allowed C&M to use a computer system

not associated with the rest of Walgreens’ network. Id. ¶ 44. Generally, Walgreens

and all of its affiliated stores used the Intercom Plus System, while C&M used a

different Citrix-based system called CarePoint. Id. Walgreens did not transition

C&M to its Intercom Plus System until late 2016. Id. According to the JCI, as late

as January 2015—over a year after the auto-refill prohibition—C&M’s CarePoint

system designated all patients, including Illinois Medicaid patients, as participating

in C&M’s auto-refill program unless a patient specifically opted out of the service. Id.

¶ 45.

        C&M’s computer system automatically marked the initials of the individual

logging into the computer and the time and date of that entry. Id. ¶ 46. Thus, when

a pharmacist or technician entered a note in the computer system that a nurse or

patient had requested a refill—in the “disclosure field” of a patient’s profile—the

computer system placed a date and time stamp on each entry and recorded the initials

of the particular pharmacist or technician. Id. ¶ 46. According to the Government,

even when technicians had not contacted a customer, “Defendants” instructed

technicians to input a notation reflecting that they had made contact. Id. ¶ 48. The




                                          11
      Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 12 of 65 PageID #:621




Government does not specify which individual defendants made such instructions.

See id.

         In such situations, technicians input notations such as “RN REQ. REFILLS,”

and “other non-specific phrases” every 30 days. Id. For example, C&M pharmacy

technician Suhail Ishaque routinely made a note on his schedule that a patient

received Illinois Medicaid, and thus that he needed to notate “Make Disclosure that

patient requested” or “Make Disclosure that nurse requested.” Id. ¶ 49. Ishaque

made such notes only for Illinois Medicaid patients. Id. ¶ 50.

               4.     Provider Bulletin and C&M’s Subsequent Reaction

         On October 8, 2014, the Illinois HFS sent Provider Bulletin P-200 14-06 (the

Provider Bulletin) to all enrolled pharmacies regarding the Illinois Handbook for

Providers of Pharmacy Services (the Handbook), reminding pharmacies of the State’s

auto-refill prohibition.    Id. ¶ 52.   Shortly after receiving the Provider Bulletin,

Defendant Hayes, in his role as a pharmacist and technician supervisor at C&M, gave

all C&M pharmacists and technicians a copy of the Provider Bulletin. Id. On the

first page of the employees’ copies Hayes wrote:

         Att: Please read bracketed areas. All refills for [Illinois Department of
         Public Aid] (only) must be noted in disclosure notes that the patient
         requested. This note also needs to be added when refilling Medicare B
         patient meds.

Id.

         Following the issuance of the Provider Bulletin, Defendants Kulekowskis and

Hayes called a meeting on November 14, 2014. Id. ¶ 62. The Government alleges

that the meeting was triggered in part by C&M’s receipt of a government subpoena



                                            12
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 13 of 65 PageID #:621




requesting information regarding prescription refill practices since May 2013. Id. ¶

62. Four days before the meeting—when C&M first received the subpoena—Hayes

sent the following email to all pharmacists and technicians and copied Kulekowskis:

      Subject: re: ILLINOIS MEDICAID PATIENTS

      REMINDER:

      ALL MEDICAID PATIENTS MUST HAVE A DISCLOSURE NOTE
      EVERYTIME A MEDICATION IS DISPENSE[D] STATING THAT
      “PATIENT (or representative) HAS REQUESTED A REFILL/REFILLS
      FOR (medication 1), (medication 2), (medication 3) AND SO ON. THE
      NOTES NEED TO BE DATED BEFORE THE MEDICATION IS SENT.

      REMEMBER THIS APPLIES TO MEDICARE D PATIENTS THAT
      HAVE ANYTHING BILLED TO ILLINOIS MEDICAID.

      THIS APPLIES TO PHARMACISTS AND TECHNICIANS.

      ABSOLUTELY NO EXCEPTIONS!!!!!!!

      THE SAME APPLIES FOR MEDICARE B.

      THIS ALSO INCLUDES ALL MENTAL HEALTH PATIENTS IN
      GROUP HOMES OR CILA’S. THE NOTE SHOULD READ THAT
      “RN/CASE WORKER/PATIENT REQUESTED REFILL OF ……….

      I have looked at some order[s] that were billed to Illinois Medicaid in the
      last month and those notes are not in disclosures. A DISCLOSURE
      NOTE MUST BE ENTERED FOR EVERY DELIVERY.

Id. Kulekowskis referred to the meeting as a “CYOA (Cover Your Own Ass) Meeting.”

Id. ¶ 63. Castillo-Baier, along with all C&M pharmacists and technicians, attended

the CYOA meeting. Id.

      At the November 14 meeting, Kulekowskis presided and told the room that he

“want[ed] everybody on the same page” regarding the subpoena and wanted to make

sure “they were all saying the same thing if questioned.” Id. ¶ 64. Kulekowskis then


                                         13
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 14 of 65 PageID #:621




told the meeting participants to say “that they do not do any auto-refills, but do call

all patients to remind them when their prescriptions are about to run out and would

need to be refilled.” Id. ¶ 65. He added that the pharmacists and technicians must

continue to enter the disclosure notes for each patient stating that he or she had

requested a refill. Id. Further, Kulekowskis advised the group that in addition to

computer disclosure notes, they should start making handwritten notes on the daily

computer printouts showing all refills to be filled for a particular day. Id. ¶ 66.

             5.      “Patient A”

      The Government offers “Patient A” as an example of a C&M customer and

Illinois Medicaid patient not contacted monthly for refill authorization. Id. ¶ 77.

Patient A remained a C&M customer from May 24, 2013 through October 19, 2014.

Id. During this time, Patient A never called C&M to request medication refills, yet

every 30 days C&M refilled Patient A’s three medications. Id. ¶¶ 77−78.

      For example, on July 21, 2014, C&M transmitted a refill claim for payment to

Illinois Medicaid for Patient A’s Atripla medication. Id. ¶ 80. According to the

Government, on the transmission form C&M made a specific representation as to the

“goods actually provided to Patient A.” Id. Field “D2” on the form correctly indicates

Patient A’s Atripla prescription number. Id. Field “DF” then indicates that Patient

A’s physician authorized six refills on the original prescription. Id. Field “D3”

indicates the actual fill number for a prescription. Id. For this July 21 transaction,

a C&M employee allegedly typed “02” into the “D3” field, making a specific

representation that this constituted the first refill on the original prescription. Id.




                                          14
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 15 of 65 PageID #:621




But C&M’s telephone logs do not contain any record of phone contact with Patient A

for this refill, and the disclosure note field in C&M’s record for this transaction

remained blank. Id. ¶ 81.

      According to the Government, the State paid C&M $2,054.39 for this

fraudulent claim. Id. ¶ 82. And in total, between May 24, 2013 and October 19, 2014,

the State paid C&M $33,867.16 for claims submitted for Patient A’s refills. Id.

             6.     The CORE Center

      Dr. Ronald Lubelchek of the Ruth M. Rothstein CORE Center served as

Patient A’s physician. Id. ¶ 83. Cook County Health and Hospital Systems operates

the CORE Center, which provides medical services for patients with HIV and other

infectious diseases. Id. Approximately 75 percent of CORE Center patients comprise

Illinois Medicaid recipients or participants in Medicaid Managed Care plans. Id. The

CORE Center operates a pharmacy on premises; C&M serves as one of the outside

pharmacies that provides medications for the on-premises pharmacy. Id. ¶ 84.

      According to Dr. Lubelchek—who has worked with the CORE Center since

2005 and now serves as its acting medical director—C&M sends electronic

authorization requests through a patient’s electronic medical records after a patient

exhausts the series of refills for that specific medication. Id. ¶¶ 85−86. C&M does

not, however, contact the CORE Center every month to obtain authorization for each

refill on a specific prescription.   Id. ¶ 86.   According to the Government, C&M

nevertheless sends refills to the CORE Center on a monthly basis, which results in




                                          15
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 16 of 65 PageID #:621




some patients not collecting medications. Id. ¶ 87. According to Dr. Lubelchek, the

CORE Center returns unclaimed medications to C&M. Id.

      After May 1, 2013, C&M submitted 904 claims to Illinois Medicaid based upon

refills for which Dr. Lubelchek served as the provider. Id. ¶ 88. The State paid C&M

approximately $424,698.51 for such claims. Id. Moreover, the CORE Center kept a

log from December 2013 through December 2015 detailing unclaimed medications

filled by C&M that they ultimately returned. Id. ¶ 89. According to CORE Center

Staff, of the various pharmacies the Center used, only C&M accepted return

medications; the Center destroyed unclaimed medications from other pharmacies. Id.

The Government alleges that C&M never reversed and credited the State for these

returned medications. Id. ¶ 90.

            7.     Post-Investigation Claims

      The Government notes that once Walgreens Corporate became involved with

the investigation at issue in this case, C&M’s Medicaid sales—both for original and

refilled prescriptions—declined “precipitously.” Id. ¶ 91. For comparison, between

May 1, 2013 through December 31, 2014, C&M submitted 85,933 claims to Illinois

Medicaid and received $30,460,303.12 back in payment. Id. Of those claims, 54,354

were refills totaling $21,786.314.11.   Id.   And from January 1, 2015 through

December 31, 2015, following Walgreens’ involvement in the investigation, C&M

submitted 39,093 total claims to Illinois Medicaid, amounting to $12,448,113.13. Id.

Of those claims, only 18,902 amounted to refills totaling $8,209,445.55 in Medicaid

reimbursement. Id.




                                        16
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 17 of 65 PageID #:621




      F.     Copayment Allegations

      According to Relators, between August 2009 and October 24, 2016, Walgreens

and Kulekowskis routinely and systematically waived copayments for Medicare and

Medicaid patients to induce them to fill their prescriptions at C&M. [65] ¶ 73.

Relators allege that the practice of waiving copayments, along with the use of auto-

refills, relates to the broader goal of inducing patients to use the C&M location, as

the two practices together allowed patients to receive prescriptions month after

month at no cost. Id. ¶¶ 186−91, 197.

      The Handbook provides, in relevant part, that “participants are responsible for

paying the costs involved in obtaining pharmacy services.” Id. ¶ 42. All providers

who perform services that require recipient copayment must make a reasonable

attempt to collect that copayment from the participant. Id. The Handbook states

when billing the Department, providers should bill their usual and customary charge

but should not report the participant’s co-payment or coinsurance on the claim, as

the Department will automatically deduct it. Id.

             1.    Castillo-Baier’s Billing Experience

      According to Castillo-Baier, she first became aware of Defendants’ copayment

waiver practice shortly after transferring to the C&M location in May 2013. Id. ¶ 81.

Around this time, she filled multiple prescriptions for a Core Center HIV patient, one

of which was Hydrocodone—a painkiller not covered by Medicaid for the patient that

month because of Illinois Medicaid’s 30-day, four-prescription limit. Id. ¶ 82. Based

upon her experience as a retail pharmacy technician and her C&M training, Castillo-




                                         17
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 18 of 65 PageID #:621




Baier understood that the patient needed to pre-pay for the non-covered prescription.

Id. ¶ 83. In addition, C&M staff trained Castillo-Baier that if a patient held an

outstanding balance of $150 or more, she should refer the issue to the finance

department and/or call the patient. Id. ¶ 83. Based upon this training, she checked

the patient’s record and saw that the patient held an outstanding balance for

copayments. Id. ¶¶ 83−84.

      Castillo-Baier then called the patient to relay that Medicaid would not cover

the Hydrocodone prescription, and that the patient needed to pay the current balance

due for copayments before any prescriptions would ship. Id. ¶ 85. The patient then

became upset, yelling at Castillo-Baier and saying that she never received bills from

C&M and could not be charged for a bill she never received. Id. ¶ 86. Following this

call, the patient called the head of the HIV department at C&M, Linette Pho, to

complain about having to pay the balance due for copayments before receiving the

prescriptions, as she had never received a bill. Id. ¶¶ 87, 109. Pho told Kulekowskis

about this call; Kulekowskis subsequently came to Castillo-Baier’s desk and said “Do

not deny my public aid patients. If they are pubic aid they do not pay.” Id. ¶ 87.

Castillo-Baier responded by telling Kulekowskis that C&M “w[as] required to collect

copayments,” but Kulekowskis responded that Castillo-Baier could not “come in here

and change things” at C&M. Id. ¶ 89. Throughout her employment, Castillo-Baier

also repeatedly heard Pho tell Core Center patients over the phone that they would

not receive a bill for copayments, and that there would be “no charge for your

medication.” Id. ¶ 92.




                                         18
      Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 19 of 65 PageID #:621




                2.    C&M’s Billing Structure

         When Walgreens transferred Castillo-Baier to C&M’s finance department in

January 2014, she learned that C&M maintained approximately 15 billing groups

into which it placed patients. Id. ¶ 94. In her new role, Castillo-Baier maintained

responsibility for default billing and placing patients into the proper billing groups.

Id. ¶¶ 94, 108−116. Some of the billing groups related to specific facilities, such as

mental health facilities, while C&M based others upon a combination of factors,

including the insurance a particular patient had. Id. ¶ 95. These latter groups

included:

         •   Monthly – Patients on private health insurance;

         •   Dual Eligible – Patients on both Medicare and Medicaid;

         •   ILMED (Medicaid) – Patients on Illinois Medicaid, including
             Managed Care Medicaid plans;

         •   Medicare – Patients on Medicare;

         •   Core Center of Chicago – DO NOT SEND – Patients of the Core
             Center covered in any way by Illinois Medicaid; and

         •   General DO NOT SEND – Patients who notified Defendants that
             they could not pay a particular bill.

Id.

         C&M sent patients in the Monthly, Dual Eligible, ILMED, and Medicare

billing groups invoices every month for outstanding balances, including copayments.

Id. ¶ 96. According to Relators, C&M did not, however, bill patients in both the Core

Center of Chicago – Do Not Send and General Do Not Send billing groups for

copayments for covered prescriptions, instead writing them off as “bad debt” after 90



                                           19
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 20 of 65 PageID #:621




days. Id. ¶¶ 74, 97, 101. Castillo-Baier alleges that Kulekowskis told the Core Center

that if it referred patients to C&M, it would write off all copayments for those

patients. Id. ¶ 78.

      Once C&M placed a patient in the Core Center – Do Not Send billing group, it

never re-evaluated or moved that patient to another billing group, even if his or her

insurance coverage changed. Id. ¶ 99. And once a patient fell into the General Do

Not Send billing group, C&M never sent an invoice or made any efforts to collect

copayments. Id. ¶¶ 101, 179.

      The individuals who trained Castillo-Baier when she transferred to the C&M

finance department, Ronnie Mok and Tina Northrup, told Castillo-Baier that they

placed Core Center Medicaid patients in the separate Core Center Do Not Send

billing group, did not send them invoices, and wrote off their copayments based upon

instructions from Kulekowskis. Id. ¶¶ 103. According to Northrup, such practices

constituted typical procedure for as long as she could remember once Kulekowskis

became the store manager in August 2009. Id.¶ 104. And at some point in early

2014, Kulekowskis told Castillo-Baier that Defendants had “a deal” with Core Center,

and as a result Defendants did not bill their patients. Id. ¶ 105.

      According to Castillo-Baier, around February 2014 she sent a billing statement

to a Core Center patient who, for an unknown reason, was not placed in the Core

Center – Do Not Send billing group. Id. ¶ 121. When that patient later called to

complain about receiving the bill, Kulekowskis reminded Castillo-Baier that “Core

Center patients were not to be billed for their copayments.” Id. ¶¶ 119, 121. On other




                                         20
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 21 of 65 PageID #:621




occasions when Core Center patients placed into the wrong billing group called

Castillo-Baier to complain about receiving bills, the patients told Castillo-Baier that

their doctor told them they would not receive bills for copayments. Id. ¶¶ 123−24,

155.

       Relators allege that as part of C&M’s process for writing off previously waived

copayments, Castillo-Baier, Hayes, Mok, and Northrup participated in monthly

finance meetings led by Kulekowskis. Id. ¶ 128. For these meetings, Kulekowskis

directed Mok to run monthly reports “showing revenues and patient responsibilities

(including copayments) for the two Do Not Send billing groups and the ILMED billing

group.”   Id.        Once Kulekowskis reviewed these reports, C&M wrote off any

outstanding balances more than 90 days overdue for patients in these three billing

programs as “bad debt.” Id. ¶ 129. The finance department, including Castillo-Baier,

implemented these bad debt write-offs. Id. ¶ 130. After Walgreens transferred

Kulekowskis to another location around July 2015, the C&M finance department

stopped its practice of writing off copayments as “bad debt.” Id. ¶ 132. It did,

however, continue to waive copayments for the two Do Not Send billing groups; the

department maintained the outstanding balances on C&M’s books without writing

them off. Id.

                3.      Free Pharmacy Consultations

       In addition to waiving copayments, Relators allege that C&M provided free,

specialized pharmacist consultations to Core Center patients and providers. Id. ¶

145. Specifically, once per month, Pho—a certified HIV Pharmacist with specialized




                                          21
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 22 of 65 PageID #:621




training—traveled to Chicago to provide pharmacist consultations to Core Center

patients, doctors, and/or nurses for free, when such a consultation would normally

cost several hundred dollars. Id. ¶¶ 146−52.

             4.     C&M’s Compliance Efforts

      In 2015, Rick Desecki became the new C&M store manager.                    Shortly

thereafter, a Core Center physician pulled a patient from C&M after Desecki

instructed Pho to bill the patient for a copayment. Id. ¶¶ 162−63. In response,

Castillo-Baier overheard Pho complain to C&M staff that because C&M had written

off Core Center copayments for so long, it could not “just one day stop” those practices.

Id. ¶ 164. According to Relators, it took Walgreens until October 24, 2016 to fully

change its overall practices regarding the Do Not Send billing groups; on that date,

C&M switched from the CarePoint software system to Intercom Plus—the same

software used by Walgreens locations nationwide. Id. ¶ 166.

      In the Intercom Plus software, C&M staff entered a medication through the

point of sale (POS) register, which required a record of some form of payment before

filling a prescription. Id. ¶ 209. If the patient did not have a credit card or express

payment information on file, a technician would have to input a billing code created

by Walgreens’ corporate office—known as PATCOB—so that the corporate office

knew to send the patient a bill. Id. ¶ 210. All patients used PATCOB regardless of

whether the patient had private insurance or fell under Medicaid or Medicare

coverage; technicians could no longer categorize patients into separate billing groups,

including the Do Not Send billing groups. Id. ¶¶ 211−12. As a result, Core Center




                                          22
      Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 23 of 65 PageID #:621




patients and physicians, as well as non-Core Center patients, called to complain

about receiving bills. Id. ¶¶ 213−14. Often, Core Center physicians requested that

Pho transfer their patients’ medications to other pharmacies. Id. ¶ 215.

         According to Relators, from May 1, 2013 through December 31, 2014, C&M

submitted 85,933 claims to Illinois Medicaid and received $30,460,303.12 thereon.

Id. ¶ 218. From January 1, 2015 through December 31, 2016, C&M submitted only

39,093 total claims to Illinois Medicaid, totaling $12,448,113.13. Id. Relators allege

that this nearly 60 percent decrease resulted from the change in copayment waiver

practices. Id.

II.      Legal Standard

         A.    Motion to Dismiss Standard

         To survive a motion to dismiss under Rule 12(b)(6), a complaint must provide

a “short and plain statement of the claim” showing that the pleader merits relief, Fed.

R. Civ. P. 8(a)(2), so Defendants have “fair notice” of the claim “and the grounds upon

which it rests,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley

v. Gibson, 355 U.S. 41, 47 (1957)). A complaint must also contain “sufficient factual

matter” to state a facially plausible claim to relief—one that “allows the court to draw

the reasonable inference” that the defendant committed the alleged misconduct.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). This

plausibility standard “asks for more than a sheer possibility that a defendant has

acted unlawfully.” Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013). Thus,

“threadbare recitals of the elements of a cause of action, supported by mere conclusory




                                           23
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 24 of 65 PageID #:621




statements, do not suffice.” Limestone Dev. Corp. v. Vill. of Lemont, 520 F.3d 797,

803 (7th Cir. 2008).

      In evaluating the complaints, this Court accepts all well-pleaded allegations

as true and draws all reasonable inferences in the Government and Relators’ favor.

Iqbal, 556 U.S. at 678. This Court does not, however, accept legal conclusions as true.

Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009). On a motion to dismiss, this Court

may consider the complaint itself, documents attached to the complaint, documents

central to the complaint and to which the complaint refers, and information properly

subject to judicial notice. Williamson, 714 F.3d at 436.

      B.     Rule 9(b) Standard

      Because the FCA serves as an anti-fraud statute, “claims under it are subject

to the heightened pleading requirements of Rule 9(b) of the Federal Rules of Civil

Procedure.” United States ex rel. Gross. v. AIDS Research All.-Chi., 415 F.3d 601, 604

(7th Cir. 2005). Rule 9(b) requires that in all averments of fraud or mistake, the

circumstances constituting fraud or mistake shall be stated “with particularity.” In

adding “flesh to the bones of the word particularity,” the Seventh Circuit has “often

incanted that a plaintiff ordinarily must describe the who, what, when, where, and

how of the fraud—the first paragraph of any newspaper story.” Pirelli Armstrong

Tire Corp. Retiree Med. Benefits Trust v. Walgreen Co., 631 F.3d 436, 441−42 (7th Cir.

2011) (internal quotations omitted). Ultimately, a plaintiff must inject “precision and

some measure of substantiation” into fraud allegations. United States and Wisc. ex

rel. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d 770, 776 (7th Cir. 2016)




                                          24
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 25 of 65 PageID #:621




(Presser) (internal quotations omitted).

       Rule 9(b)’s heightened pleading requirements serve three main purposes: (1)

protecting a defendant’s reputation from harm, (2) minimizing “strike suits” and

“fishing expeditions,” and (3) providing notice of the claim to the adverse party. Id.

Fair notice requires a plaintiff who pleads fraud to “‘reasonably notify the defendants

of their purported role in the scheme.’” Id. at 778 (quoting Midwest Grinding Co. v.

Spitz, 976 F.2d 1016, 1020 (7th Cir. 1992)); see also Guar. Co. of N. Am. v.

Moecherville Water Dist., N.F.P., No. 06-cv-6040, 2007 WL 2225834, at *2 (N.D. Ill.

July 26, 2007) (“The purpose of the more restrictive pleading standard is to ensure

that the accused party is given adequate notice of the specific activity that the

plaintiff claims constituted the fraud, so that the accused party may file an effective

responsive pleading.”).

III.   Analysis

       A.    The Parties’ Claims

       Relators and the Government proceed based upon two largely different

theories of FCA liability. While Relators’ SAC includes some allegations related to

automatic refills, [65] ¶¶ 183−97, they base their claims primarily upon allegations

that Defendants Walgreens and Kulekowskis routinely and systematically waived

copayments for Medicaid and Medicare patients, id. ¶ 3.

       The Government, on the other hand, does not bring any allegations related to

copayment waivers. See generally [64]. Instead, the Government’s JCI alleges that

Defendants Walgreens, Kulekowskis, and Hayes automatically refilled prescriptions




                                           25
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 26 of 65 PageID #:621




for Illinois Medicaid patients serviced at C&M. Id. ¶¶ 1, 3. The Government also

brings claims for common law fraud, unjust enrichment, and payment by mistake

(only against Defendant Walgreens) based upon its automatic refill allegations. Id.

¶¶ 104−11.

      B.     FCA & IFCA Standard

      To state a claim under the FCA, Relators and the Government both must show

that Defendants “knowingly present[ed], or cause[d] to be presented, a false or

fraudulent claim for payment or approval,” 31 U.S.C. § 3729(a)(1)(A), or “knowingly

ma[de], use[d], or cause[d] to be made or used, a false record or statement material

to a false or fraudulent claim,” id. § 3729(a)(1)(B). Relators and the Government each

bring their respective theories of liability under both Sections 3729(a)(1)(A) and

(a)(1)(B) and their respective IFCA counterparts, 740 ILCS §§ 175/3(a)(1)(A)−(B). [64]

¶¶ 92−103; [65] ¶¶ 223−259.

      A “claim” under the FCA “includes direct requests to the Government for

payment as well as reimbursement requests made to the recipients of federal funds

under federal benefits programs.”      Universal Health Servs., Inc. v. U.S. ex rel.

Escobar, 136 S. Ct. 1989, 1996 (2016) (Escobar II) (citing 21 U.S.C. § 3729(b)(2)(a)).

In the case here, parties can bring FCA claims under two theories of falsity: express

false certification and implied false certification—“in essence, falsity resulting from

express misrepresentations or from misrepresentation by omission.” United States

ex rel. Lisitza v. Par Pharm. Cos., 276 F. Supp. 3d 779, 789 (N.D. Ill. 2017) (Lisitza).




                                          26
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 27 of 65 PageID #:621




As discussed below, the parties base their FCA claims upon implied false certification

theories.

      The FCA’s scienter and materiality requirements are “rigorous.” Escobar II,

136 S. Ct. at 2002. Per the statutory definitions here, “knowingly” means “that a

person, with respect to information—(i) has actual knowledge of the information; (ii)

acts in deliberate ignorance of the truth or falsity of the information; or (iii) acts in

reckless disregard of the truth or falsity of the information . . . .” 31 U.S.C. §

3729(b)(1); see also United States ex rel. Sheet Metal Workers Int’l Ass’n v. Horning

Invs., LLC, 828 F.3d 587, 593 (7th Cir. 2016). The knowledge requirement does not,

however, require “proof of specific intent to defraud.” 31 U.S.C. § 3729(b)(1)(B). The

term “material” means “having a natural tendency to influence, or be capable of

influencing, the payment or receipt of money or property.” Id. § 3729(b)(4). Moreover,

a “misrepresentation about compliance with a statutory, regulatory, or contractual

requirement must be material to the Government’s payment decision in order to be

actionable under the False Claims Act.” Escobar II, 136 S. Ct. at 1996.

      Courts evaluate IFCA claims under the same standards as those applicable to

FCA claims. United States ex rel. Grenadyor v. Ukrainian Vill. Pharmacy, Inc., 772

F.3d 1102, 1109 (7th Cir. 2014); Cunliffe v. Wright, 51 F. Supp. 3d 721, 740 (N.D. Ill.

2014). Thus, this Court will apply its FCA analysis to Counts I through IV of both

the Government’s JCI [64] and the Relators’ SAC [65]. This Court turns first to the

Government’s FCA theory of liability.




                                          27
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 28 of 65 PageID #:621




       C.     JCI Counts I through IV: The Government’s FCA Theory

       The Government’s FCA theory contains two separate theories of FCA liability.

First, the Government alleges that Defendants Kulekowskis and Hayes executed a

scheme to “willfully disregard [Illinois’] auto-refill prohibition and to conceal their

deception in order to obtain funds from the State.” [74] at 1. Second, it alleges that

C&M engaged in a related scheme by: (1) billing the State of Illinois for auto-refilled

prescriptions that ultimately went unclaimed by patients; and (2) and failing to then

reverse and credit the State for these unclaimed prescriptions. [64] ¶¶ 87−90. This

Court turns first to the initial auto-refill theory.

              1.     The Auto-Refill Claims Are Not Implicitly False

       Defendants move to dismiss the Government’s auto-refill claim pursuant to

Rule 9(b)’s particularity requirement, arguing that the Government: (1) fails to plead

the submission of a false claim with particularity; (2) relies upon impermissible group

pleading; and (2) fails to allege Defendant Walgreens’ scienter. [69] at 8−14. This

Court agrees with Defendants, and dismisses Counts I through IV of the JCI because

the Government: (1) fails to plead any specific representation relating to the auto-

refill prohibition on the face of C&M’s claims for reimbursement; (2) fails to allege

omitted information that renders the description of any refilled drugs misleading;

and (3) fails to describe in sufficient detail the allegedly fraudulent auto-refill

practices.

       As an initial matter, the Government does not clarify whether it brings its FCA

claim under an express or implied false certification theory. See generally [74].




                                            28
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 29 of 65 PageID #:621




      Under an express false certification theory, a plaintiff must allege that

defendants “falsely and specifically certified that it is in compliance with regulations

which are prerequisites to Government payment in connection with the claim for

payment of federal funds.” United States ex rel. Grey v. UnitedHealthcare Ins. Co.,

No. 15-cv-7137, 2018 WL 2933674, at *4 (N.D. Ill. June 12, 2018) (quoting United

States ex rel. Cieszyski v. LifeWatch Servs., No. 13 CV 4052, 2015 WL 6153937, at *6

(N.D. Ill. Oct. 19, 2015)). An implied false certification theory, on the other hand,

applies when “a defendant makes representations in submitting a claim but omits its

violations of statutory, regulatory, or contractual requirements,” and then those

“omissions can be a basis for liability if they render the defendant’s representations

misleading with respect to the goods or services provided.” Escobar II, 136 S. Ct. at

1999. Although the Government fails to specify under which theory its auto-refill

allegations fall, this Court finds Lisitza instructive on this point.

      In Lisitza, the plaintiffs alleged that defendant Par Pharmaceutical

Companies, Inc., caused national pharmacy chains to submit false claims for

reimbursement from Medicaid. 276 F. Supp. 3d at 781. The plaintiffs alleged that

Par induced pharmacies to fill prescriptions not with the generic drugs providers

originally prescribed, but with more expensive forms and dosages of those drugs

manufactured by Par. Id. at 781. As such, Par caused the pharmacies to submit

claims that were facially truthful with respect to the goods provided and their cost,

but misleading because the pharmacies omitted that they substituted forms and




                                           29
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 30 of 65 PageID #:621




dosages of the medications to maximize their profit, in violation of Medicaid

regulations. Id. at 782, 793–94.

      In deciding that Par’s allegations fell under the implied false certification

theory, the Lisitza court reasoned:

      The fraudulent, or false, nature of the claims results from the omission
      of information that is allegedly necessary to make the statement set
      forth on the claim (essentially, ‘PHARMACY paid $X for Drug Y which
      was dispensed to Customer Z on DATE”) not misleading. That claim is
      therefore ‘fraudulent’ only by its alleged implication that it was proper
      under the Medicaid regulations to dispense Drug Y to Patient Z. The
      falsity, if any, lies only in the omission of information that would render
      the representations about the dispensed drugs (the ‘goods or services
      provided’) misleading.

Id. at 794. Because the alleged omission implied falsity, the court found that the

Supreme Court’s decision in Escobar II (which provided the framework for the

implied certification framework) governed the case. Id.

      Here, as in Lisitza, the Government does not allege that C&M’s claims

constituted facially untruthful statements as to the type of drugs provided or their

true costs. Rather, it alleges that C&M omitted that it did not seek or receive

authorization for certain prescriptions from the claims, and thus violated Illinois’

auto-refill prohibition. See, e.g., [64] ¶ 3 (“Defendants have knowingly and willfully

submitted false claims for reimbursement for such automatically refilled

prescriptions . . . by falsely and fraudulently indicating in the patient’s profile that

either the patient . . . or a provider requested the refill”); [74] at 4 (“Defendants then

submitted claims for the prescriptions to Illinois Medicaid for each of the improperly

auto-refilled prescriptions.”). Any falsity thus stems from the “alleged implication




                                           30
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 31 of 65 PageID #:621




that it was proper under the Medicaid regulations to dispense” the drugs to C&M’s

patients under the true circumstances. Lisitza, 276 F.3d at 794. Accordingly, this

Court proceeds to analyze the Government’s auto-refill allegations under the implied

false certification theory.

       An FCA theory based upon implied false certification must meet two

conditions: “first, the claim does not merely request payment, but also makes specific

representations about the goods or services provided; and second, the defendant’s

failure to disclose noncompliance with material statutory, regulatory, or contractual

requirements makes those representations misleading half-truths.” United States ex

rel. Nelson v. Sanford-Brown, Ltd., 840 F.3d 445, 447 (7th Cir. 2016) (Sanford-Brown

II) (citing Escobar II, 136 S. Ct. at 2001).

       In satisfying the first prong, the Government needs to show a specific

misrepresentation on a claim’s face or otherwise identify omitted information that

renders the description of a good or product misleading. Lisitza, 276 F. Supp. 3d at

798; Midwest Commerce Banking Co. v. Elkhart City Ctr., 4 F.3d 521, 524 (7th Cir.

1993) (“Omissions are actionable as implied representations when the circumstances

are such that a failure to communicate a fact induces a belief in its opposite.”).

       Thus, in applying the implied false certification framework, this Court must

first ask what specific representations, if any, C&M made about the medications for

which it submitted claims for reimbursement. Lisitza, 276 F. Supp. 3d at 795 (citing

Escobar II, 136 S. Ct. at 2000).

       In Escobar II, for example, the facility represented by way of National Provider




                                           31
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 32 of 65 PageID #:621




Identification numbers (included on claims submitted for reimbursement) that

qualified practitioners had provided the relevant medical services, when in fact they

lacked the requisite credentials and licensing. 136 S. Ct. at 1997. Therefore, the

claims made specific misrepresentations about the goods and services provided,

because they used the codes corresponding to the service and the provider “without

disclosing [the] many violations of basic staff and licensing requirements.” Id. at

2000−01.

      Here, unlike Escobar II, the Government fails to identify any “specific

representation” that rendered a given claim a “misleading half-truth by the omission

of material facts.” Lisitza, 276 F.3d at 796. Rather, the Government’s only example

of any claim representation relies upon “Illinois Medicaid Patient A.” [64] ¶ 77.

According to Patient A, C&M kept him on automatic refill; Patient A never called

C&M to request medication refills, and every 30 days C&M refilled Patient A’s three

medications automatically. Id. ¶¶ 77−78. The Government points to a single refill

claim for payment from Patient A—garnered from C&M’s Illinois Medicaid records—

that C&M submitted for Patient A’s Atripla medication. Id. ¶ 80; [64-1]. According

to the Government, Field “DF” on the form indicates that Patient A’s physician

authorized six refills on the original prescription, while Field “D3” on the form

indicates the actual fill number for a prescription. Id. For this claim, an unknown

C&M employee typed “02” into the “D3” field, indicating it served as the first refill.

Id. Because C&M’s telephone logs do not contain any record of phone contact with

Patient A for this refill, and C&M’s electronic disclosure notes for this transaction




                                         32
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 33 of 65 PageID #:621




remain blank, the Government contends that the “D3” entry made a specific, false

representation “that this was the first refill on the original prescription.” Id. ¶¶

80−81. Not so.

       Patient A’s transmission form, [64-1]—the Government’s only allegation of a

claim form submitted by C&M—lacks “any affirmation or statement that the

claimant has complied with all applicable laws and regulations.” 3 Lisitza, 276 F.3d

at 798. The form contains no space for disclosing whether the employee filling out

the form made contact with Patient A’s physician, provider, or any other relevant

individual. [64-1]. Rather, the form indicates only that it served as the first refill on

the original prescription, which remains a true, facially accurate statement. Id.

(Field “D3”); [64] ¶ 80. In other words, the Government does not allege that Field

“D3” constitutes a false representation because C&M never refilled the prescription,

but because it refilled the prescription in a manner unauthorized by the auto-refill

regulations in the first place. Id. ¶¶ 3, 79.

       But this allegation—that Field “D3” serves as a specific misrepresentation

because C&M violated Medicaid regulations by fulfilling the prescription in the first




3 The Government notes, correctly, that to enroll in Illinois Medicaid, C&M certified that it would
follow all applicable laws and regulations. [64] ¶¶ 26, 28. Moreover, once enrolled, C&M signed the
Illinois Medicaid Provider Agreement, which provides, in part, that providers of prescription drugs
will comply with all current and future program policy and billing provisions. Id. ¶¶ 27, 28. But
neither the enrollment paperwork nor the Provider Agreement constitute a claim for payment; rather,
the Government alleges that the reimbursement forms themselves contain the false representations
at issue. Id. ¶ 3. Absent any allegation that at the time of enrollment, C&M certified it would comply
with applicable laws and regulations despite having no intention to do so (i.e. a fraudulent inducement
theory), the Government’s FCA claim cannot rest upon representations made in the enrollment form
or provider agreement. See Lisitza, 276 F. Supp. 3d at 811 n.8 (“But if the defendant intended to
comply at the time of enrollment, but later did not, it has not committed fraud; it has breached a
contract.”) (citing U.S. ex rel. Main v. Oakland City Univ., 426 F.3d 914, 917 (7th Cir. 2005)).


                                                 33
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 34 of 65 PageID #:621




place—cannot withstand scrutiny. The Seventh Circuit has made clear that “it is not

enough to . . . prove that the pharmacy engaged in a practice that violated a federal

regulation” because “[v]iolating a federal regulation is not synonymous with filing a

false claim.” Grenadyor, 772 F.3d at 1102; see also Lisitza, 276 F.3d at 796−97

(finding no specific representation where the plaintiffs were “primary concerned with

[ ] whether it was permissible to dispense the subject drugs at all, not with whether

there was a false representation about the drugs, their cost, or the quantity

dispensed.”); United States ex rel. Crews v. NCS Healthcare of Illinois, Inc., 460 F.3d

853, 858 (7th Cir. 2006) (where defendant allegedly violated pill storage and handling

regulations, and in the process re-dispensed and double billed for returned drugs, the

regulatory violations did not render reimbursement claims false, because a

reimbursement claim could “not turn into a false claim under the FCA just because

[defendant] stored or handled the drugs improperly.”). As such, the Government fails

to offer any specific representation on Patient A’s claim relating to the auto-refill

allegations.

      Accordingly, absent a specific misrepresentation on the face of a claim, the

Government must identify omitted information that renders the description of a given

prescription misleading. Lisitza, 276 F.3d at 798. According to the JCI, C&M omitted

material information by submitting claims for refills despite never seeking

authorization to do so. [64] ¶ 82. Again, it offers Patient A as the only example of a

specific claim. Id. ¶ 77−82.




                                         34
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 35 of 65 PageID #:621




       According to the Seventh Circuit, “[o]missions are actionable as implied

representations when the circumstances are such that a failure to communicate a fact

induces a belief in its opposite.” Midwest Commerce Banking Co. v. Elkhart City Ctr.,

4 F.3d 521, 524 (7th Cir. 1993). But here, Patient A’s transmission form provides no

basis to infer that C&M necessarily sought authorization for each refill it issued.

Rather, as the Government concedes in its response memorandum, pharmacies do

not always have to seek authorization before refilling a prescription. [74] at 7−8.

       For example, Section P-208.4 of the Handbook, which the Government

references in its JCI, [64] ¶ 36 n.1, identifies an exception to the auto-refill

prohibition. 4 Specifically, it states that the policy “does not apply to medications that

are dispensed to residents of LTC [Long Term Care] facilities or community based

living arrangements such as CILA [Community Integrated Living Arrangement],

SLF [Supportive Living Facility] or sheltered care facilities.” Thus, the Handbook,

by its own terms, did not even require authorization from the patient or provider

under every circumstance. See, e.g., Lisitza, 276 F. Supp. 3d at 799 (explaining that

“the claims at issue provide no basis to infer that the drug dispensed was the drug

originally prescribed” because “given the plethora of state laws and regulations that

govern the dispensing of prescription medication, there may be many reasons why

the drug actually dispensed may differ from the drug originally prescribed.”).




4 The 2013 version of the handbook referenced in the Government’s JCI remains available at:
https://web.archive.org/web/20141223154619/https://www.illinois.gov/hfs/SiteCollectionDocuments/p
200.pdf.



                                              35
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 36 of 65 PageID #:621




          For this reason, this Court cannot read Patient A’s transmission form to

include an “affirmation” that C&M sought and received authorization for the specific

refill.    Indeed, where on Patient A’s form would C&M have self-reported such

information? See generally [64-1]; see, e.g., id. (“If pharmacies were required to

identify whether the drug dispensed was the drug originally prescribed, one would

expect that the Medicaid agencies would require them to say so on their

reimbursement forms. But they don’t.”) (citing Thulin v. Shopko Stores Operating

Co., LLC, 771 F.3d 994, 1000 (7th Cir. 2014) (rejecting FCA claims based upon

reimbursement forms that did not require information about whether the patient was

subject to a dual-copay, as the absence of a request for the relevant data on the claim

form was “compelling evidence” that defendants “did not have an obligation to submit

co-pay information to Medicaid.”)).

          The Government responds that: (1) the FCA does not require it to address any

exceptions to the auto-refill prohibition, as they constitute “defenses, not affirmative

requirements”; and (2) it nonetheless complied with Rule 9(b) by “furnish[ing] . . . the

detailed scheme of C&M and its manager defendants to willfully circumvent the auto-

refill violation” and by “illustrat[ing] it with an actual C&M claim submitted to and

paid by the State of Illinois.” [74] at 7, 8. This Court disagrees.

          With respect to the first point, the Government provides no authority for its

assertion that the sub-regulatory guidance upon which it bases its entire FCA theory

constitutes a “defense” that it need not address in its complaint. See generally [74].

Moreover, it misses the point: even if Patient A’s medication did require




                                           36
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 37 of 65 PageID #:621




authorization—an allegation not made in the JCI—a claim form for a patient who did

not require authorization, such as an LTC patient, would look identical to that of

Patient A. Accordingly, Patient A’s form fails to contain the requisite “affirmation”

that C&M sought and received authorization for the refill. Lisitza, 276 F. Supp. 3d

at 799.

      Relatedly, the Government’s second point reveals another problematic aspect

of its FCA theory: it bases its entire claim upon the underlying auto-refill regulatory

violations, and argues that the corresponding bills must, by extension, constitute

false claims. [74] at 8. In other words, the Government argues that even if the claim

forms did not contain specific misrepresentations or misleading descriptions of the

drugs, C&M still should have self-reported the underlying auto-refill violations on

each claim form. Again, not so. Even taking the Government’s auto-refill “scheme”

as true, it demonstrates at most a compliance issue, not allegations of false claims for

payment. See Lisitza, 276 F. Supp. 3d at 801; see also United States ex rel. Kelly v.

Serco, Inc., 846 F.3d 325, 333 (9th Cir. 2017) (explaining that the FCA “focuses on the

submission of a claim, and does not concern itself with whether or to what extent

there exists a menacing underlying scheme.”) (quoting United States ex rel. Aflatooni

v. Kitsap Phys. Serv., 314 F.3d 995, 1002 (9th Cir. 2002)).

      Once again, the Lisitza court’s reasoning remains instructive. Where the

Lisitza plaintiffs alleged that the defendant induced pharmacies to fill prescriptions

with forms and dosages of drugs more expensive than the generic drugs originally

proscribed, the court found, in relevant part, that this underlying regulatory violation




                                          37
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 38 of 65 PageID #:621




could not render the claims themselves misleading:

       Undressed, the plaintiffs’ argument is simply that the pharmacies never
       should have dispensed the subject drugs, and to the extent that they did,
       they were required to self-report regulatory violations so that Medicaid
       would not be misled into paying them. That argument is precluded by
       the case law above holding that violating underlying regulations . . . is
       not the equivalent of filing a false claim. Omitting information from the
       claim form about the course of events that led to the dispensing of a
       particular drug, or about its relative cost, does not go to the truth or
       falsity of the representations on the claim form itself, which . . . is limited
       to the claim for payment, at the government-set rate, for the actual drug
       dispensed.

276 F. Supp. 3d at 800−01.

       Here, as in Lisitza, the Government alleges that C&M never should have

dispensed Patient A’s drugs, or any drugs, for that matter, without seeking

authorization.     [64] ¶ 82.      But as noted above, any information about C&M’s

authorization efforts leading up to the issuance of a refill cannot undermine the

veracity of the claim form itself.          Absent any allegation that C&M misled the

Government about the drugs it provided or their cost, a claim for reimbursement

alone, even if based upon an alleged “scheme,” cannot sufficiently state an FCA claim.

See, e.g., Sanford Brown II, 840 F.3d at 447 (summary judgment finding that

although relator alleged that defendant submitted claims certifying compliance with

all applicable laws, when in fact it had violated provisions of Title IV of the Higher

Education Act, there was no proof that defendant made any representations in

connection with the claims for payment; instead, the defendants simply requested a

disbursement). 5


5To the extent Relators’ SAC also includes FCA allegations related to the auto-refill scheme, [65] ¶¶
183−97, this Court dismisses those allegations, without prejudice, for the same reasons it dismisses


                                                38
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 39 of 65 PageID #:621




                        d.      The Government Fails to Plead the Auto-Refill
                                Scheme with Sufficient Particularity

        Finally, even if this Court accepts the Government’s legal theory—that claims

seeking reimbursement for drugs dispensed due to the alleged auto-refill scheme

constitute false claims—their FCA claim nonetheless fails, as the Government fails

to describe in sufficient detail the allegedly fraudulent auto-refill practices. See

Presser, 836 F.3d at 778 (“Although a pleading need not exclude all possibility of

honesty in order to give the particulars of fraud, the grounds for the plaintiff’s

suspicions must make the allegations plausible, even as courts remain sensitive to

information asymmetries that may prevent a plaintiff from offering more detail.”)

(internal citations and quotations omitted). 6

        As discussed above, the Government points to a single refill claim for payment,

garnered from C&M’s Illinois Medicaid records, that C&M submitted for Patient A’s

Atripla medication. Id. at 80. But fatally, the Government fails to contextualize or

otherwise demonstrate how this single data point plausibly indicates a broader auto-

refill “scheme.” [74] at 1. Rule 9(b)’s particularity requirement serves to “discourage

a sue first, ask questions later philosophy.”                 Pirelli, 631 F.3d at 441 (internal




the Government’s auto-refill allegations. In fact, the SAC fails to allege that C&M submitted a single
claim for an auto-refilled prescription. Id.

6In Pirelli, the Seventh Circuit explained that this “flexible” plausibility standard applies to plaintiffs
alleging fraud based upon “information and belief.” 631 F.3d at 442−43. But there, the court explained
that pleading fraud based upon “information and belief” remains permissible only if “the facts
constituting the fraud are not accessible to the plaintiff.” Id. As this Court discusses below, Castillo-
Baier worked in C&M’s finance department doing billing work, [65] ¶¶ 17, 94; [73] at 3 n.1, and the
Government possessed spreadsheets of records detailing “each C&M refill submitted to Illinois
Medicaid.” [64] ¶ 70. Thus, the following analysis demonstrates that even with accessible information,
the Government fails to meet this flexible particularity standard.


                                                   39
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 40 of 65 PageID #:621




quotations omitted). As such, to satisfy this requirement, plaintiffs must “conduct a

careful pretrial investigation” to minimize the risk of extortion that may come from

a baseless fraud claim. Fidelity Nat’l Title Ins. Co. of N.Y. v. Intercounty Nat’l Title

Ins. Co., 412 F.3d 745, 748−49 (7th Cir. 2005). To be sure, a preliminary review of

data can serve to satisfy this requirement. Pirelli, 631 F.3d at 446. But in doing so,

the Government must place such data “in context.” Id. at 444; see also Presser, 836

F.3d at 779 (“We previously have affirmed dismissals of complaints that fail to put

the defendant’s alleged [fraudulent] activity into its relevant context.”).

      In Pirelli, for example, the plaintiff brought suit against Walgreens, alleging

that the pharmacy systematically filled prescriptions written for cheap forms of two

popular drugs with more expensive alternatives. Id. at 438. As part of its complaint,

the plaintiff presented a preliminary review of its own reimbursement data, which

showed eleven instances in which it paid Walgreens for the more expensive forms

when less expensive dosage forms were available. Id. at 439. In affirming the district

court’s dismissal, the Seventh Circuit found that the plaintiff failed to contextualize

the reimbursement data, and thus the data could not plausibly support the fraud

allegations. Id. at 444. Significantly, the data offered “no reason to think that

reimbursements for a total of eleven members nationwide is suspicious,” as it left the

following contextual questions unanswered:

      [A]mong all the pharmacies with which [plaintiff] had dealings, did only
      Walgreens seek reimbursement for the more expensive form of
      Rantidine over this period? Are prescriptions for that form so
      exceedingly rare that the mere fact of reimbursement should raise
      eyebrows? [Plaintiff] has not pled or argued that the answer to these




                                          40
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 41 of 65 PageID #:621




        questions is yes, and common sense says that the answer to each is likely
        to be no.

Id. at 444−45 (internal citation omitted).

        Here, as in Pirelli, the JCI leaves too many crucial questions unanswered. For

example, in light of the Handbook’s exception to the auto-refill prohibition for

residents of certain facilities, the Government fails to put Defendants’ alleged activity

into its relevant context. Are prescriptions written for residents of LTC, CILA, SLF,

and sheltered care facilities sufficiently rare such that a refill without disclosure

notes or a call log record “should raise eyebrows?” Pirelli, 631 F.3d at 444. Did

Patient A reside at an excepted facility such that the exception would apply to the

Atripla prescription? Did C&M properly contact with Patient A’s provider or family

member, rather than Patient A directly? 7 The Government has, by its own admission,

reviewed spreadsheets of records detailing “each C&M refill submitted to Illinois

Medicaid” from May 1, 2013 through December 31, 2016. [64] ¶ 70. Here, as in

Pirelli, this Court sees no reason why the Government could not have gone beyond

this single instance of a prescription to contextualize the data. 631 F.3d at 445 (“The

bare fact of inconsistent reimbursements for three patients in a five-year time period

is not sufficient to raise allegations of fraud above the speculative level.”).

        But rather than provide additional prescription examples that could help this

Court place Patient A’s refill in context, the Government instead provides conclusory

descriptions of additional, non-contextualized data.                 For example, it states that


7 Section 208.4 of the provider handbook states that all “prescription refills must be initiated by a
request from the physician, recipient, or other person acting as an agent of the recipient, e.g., a family
member.”


                                                   41
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 42 of 65 PageID #:621




C&M’s records “reveal that claims submitted by C&M for HIV drug refills containing

legitimate disclosure notes total only . . . 11% of the total HIV refills,” while 1,831

claims for HIV drug refills “contained notes for HIV drug refills . . . that were generic

in nature, as described in more detail above.” [64] ¶¶ 71, 73. The Government fails,

however, to explain the difference between “legitimate” versus “generic” entries. See,

e.g., id. ¶ 48 (offering “RN REQ. REFILLS” as an example of a “generic” and “vague”

entry that was “false and fraudulent” without explanation).

       Further, the Government alleges that 467 claims for unspecified medications

contained notes that did not indicate whether employees obtained authorization for

refills, and 17,803 claims for HIV refills contained no disclosure notes. Id. ¶ 72. But

again, absent additional information as to the frequency with which C&M fulfilled

prescriptions written for residents of LTC, CILA, SLF, and sheltered care facilities,

the Government offers this Court no context with which to interpret whether notes

lacking any mention of authorization should raise suspicion. In fact, common sense

suggests that the instances of such claims might very well be high given HIV’s chronic

nature and the other “complex, genetic, rare, and chronic health conditions” for which

C&M, as a specialty pharmacy, filled prescriptions. [64] ¶¶ 9, 31 (listing C&M’s

departments to include mental health, transplant, HIV, and biologics); see also

Pirelli, 631 F.3d at 444−45 (finding plaintiff’s data failed to plausibly support its

fraud allegations because the plaintiff had “not pled or argued that the answer to [the

court’s unanswered] questions is yes, and common sense says that the answer to each

is likely to be no.”) (internal citation omitted).




                                            42
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 43 of 65 PageID #:621




      Perhaps most problematically, the Government’s data relies almost exclusively

upon the lack of disclosure notes for given refills, see, e.g., [64] ¶¶ 3, 50, 71, 74, 81,

yet it fails to clarify whether pharmacies consistently document contact regarding

refills in disclosure notes, nor does it cite to any law, regulation, or official Walgreens

policy requiring pharmacists or technicians to include this information in disclosure

notes. Without such information, this data suggests, at most, that C&M failed to

satisfy its own internal policy of including disclosure notes. See, e.g., Presser, 836

F.3d at 780 (affirming district court’s dismissal of FCA claims for lack of particularity

where relator failed “to demonstrate how defendant’s policies compare[d] to other

clinics or could otherwise be understood as ‘unusual.’”).             Absent additional

information, “the data, untethered as they are, cannot corroborate a fraud because

their free-floating nature stymies any meaningful understanding of what the

numbers mean.” Id. at 445.

      To be sure, data does not provide the only method by which the Government

can plead its auto-refill theory. The Seventh Circuit has held that relators can

provide “firsthand facts or data to make [their] suspicions plausible.” Pirelli, 631

F.3d at 445 (internal quotations omitted) (emphasis added). Here, however, the

Government’s firsthand facts cannot withstand scrutiny.

      As an initial matter, many of the Government’s allegations lack multiple

elements of particularity required by Rule 9(b). Take, for example, the Government’s

assertion that at “Defendants’ instruction, where the patient or provider had not

specifically requested a refill for a Medicaid-covered prescription, a false and




                                           43
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 44 of 65 PageID #:621




fraudulent notation was made in connection with each prescription that the patient

or a nurse called to request the refill.” [64] ¶ 43. This statement—typical of many

allegations in the JCI, see, e.g., [64] ¶¶ 3, 6, 40, 48, 51, 55—lacks any specificity as to

who made such instructions, when the notations were made, or to whom the

instructions were made. See, e.g., Suburban Buick, Inc. v. Gargo, No. 08 C 0370, 2017

WL 2653070, at *9−10 (N.D. Ill. May 29, 2009) (To comply with Rule 9(b), a complaint

involving multiple defendants “should inform each defendant of the nature of his

alleged participation in the fraud.”) (citing Vicom, Inc. v. Harbridge Merchant Servs.,

Inc., 20 F.3d 771, 778 (7th Cir. 1994)); Grenadyor v. Ukrainian Village Pharmacy,

Inc., 772 F.3d 1102, 1108 (7th Cir. 2014) (finding allegations insufficient because

“there is nothing to indicate when [manager] directed that the charges not be

reversed, whether [relator] was present, and if not, how [the relator] learned that the

charges were never reversed.”); see also United States ex rel. Berkowitz v. Automation

Aids, Inc., 896 F.3d 834, 841 (7th Cir. 2018) (“Though Universal Health clarified the

circumstances under which a plaintiff may proceed on an implied false certification

claim, its analysis does not change the fact that a plaintiff must sufficiently plead the

essential elements of an FCA claim.”) (citing Escobar II, 136 S. Ct. 1989).

      In response to Defendants’ particularity arguments, the Government’s

response memorandum lists seven specific paragraphs from its JCI which it argues

state with particularity the “who, what, when, where, and how” of C&M’s alleged

FCA violations. [74] at 9−10. The relevant paragraphs allege as follows:

      •   According to Bundzinski, Defendants Kulekowskis and Hayes called
          meetings with all pharmacy technicians instructing them to always



                                           44
Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 45 of 65 PageID #:621




       document in C&M’s computer system that the patient called C&M
       and requested the refill even if the patient had not done so. In
       reality, patients mainly called C&M when they had a complaint
       about delivery issues with their prescriptions. Id. ¶ 61.

   •   One of these meetings referred to by Bundzinski occurred on
       November 14, 2014. This meeting was triggered by a subpoena from
       the government received by C&M on November 10, 2014, requesting
       information regarding prescription refill practices since May 2013.
       Id. ¶ 62.

   •   Preceding this meeting, Defendant Hayes sent the following email on
       November 10, 2014, to all pharmacists and technicians . . .
       REMINDER: ALL MEDICAID PATIENTS MUST HAVE A
       DISCLOSURE NOTE EVERYTIME A MEDICATION IS
       DISPENSE[D] . . . . THE NOTES NEED TO BE DATED BEFORE
       THE MEDICATION IS SENT. Id. ¶ 62.

   •   Defendant Kulekowskis referred to the meeting as a “CYOA (Cover
       Your Own Ass) Meeting.” Id. ¶ 63.

   •   Defendant Kulekowskis presided over the CYOA meeting and told
       everyone that he “want[ed] everybody on the same page” regarding
       the subpoena and wanted to make sure they were all saying the same
       thing if questioned. Id. ¶ 64.

   •   Defendant Kulekowskis then told the CYOA meeting participants to
       say that they do not do any auto-refills, but do call patients to remind
       them when their prescriptions are about to run out and would need
       to be refilled. He added that the pharmacists must continue to enter
       the false and fraudulent disclosure notes for each patient stating that
       the patient had requested the refill. Id. ¶ 65.

   •   Finally, Defendant Kulekowskis advised the pharmacists and
       technicians that in addition to the computer disclosure notes, they
       should start making handwritten notes on the daily computer
       printouts showing all refills to be filled for a particular day.
       Kulekowskis told the CYOA meeting attendees that there was no law
       saying how long they should keep the printouts, and so they should
       now start keeping the logs and making the notations to create a
       record of their “calls” with patients consenting to the refills.
       Effectively, Kulekowskis told the C&M employees to create a fake
       paper trail. Id. ¶ 66.




                                       45
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 46 of 65 PageID #:621




      These allegations fail to provide sufficient particularity under Rule 9(b). The

Government alleges that according to Bundzinski, Kulekowskis and Hayes called

meetings to instruct employees to always document in C&M’s computer system that

the patient called C&M and requested the refill, even if the patient had not done so.

[64] ¶ 61. The Government, however, fails to explain when any one of specific these

meetings or instructions occurred.     Instead, it references a single meeting that

occurred after Bundzinski left C&M, allegedly triggered by the receipt of a subpoena

on November 10, 2014. Id. ¶¶ 56, 62.

      But the e-mail Hayes sent out prior to this meeting, as well as the alleged

dialogue from the meeting, indicates only that in response to the subpoena,

Kulekowskis and Hayes forcefully reminded employees to follow proper policies and

procedures. At the parties’ motion hearing, the Government’s counsel referred to

Hayes’ e-mail as a “wink and a nod,” implying it referred to fraudulent behavior. Yet

the Government’s own conclusory commentary provides the sole references to

fraudulent behavior; for example, the Government alleges that Kulekowskis told the

pharmacists and technicians to enter the “fraudulent” disclosure notes stating that

each patient requested a refill, or that “[e]ffectively, Kulekowskis told the C&M

employees to create a fake paper trail.” Id. ¶¶ 65, 66. Simply put, this Court cannot

accept such speculative and conclusory allegations as concrete support for the

Government’s alleged auto-refill “plot,” [74] at 1. See, e.g., Presser, 836 F.3d at 780

(dismissing allegations because relator’s “subjective evaluation, standing alone, is not

a sufficient basis for a fraud claim); see also Twombly, 550 U.S. at 555 (holding that




                                          46
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 47 of 65 PageID #:621




while “detailed factual allegations” are not required under Fed. R. Civ. P. 8(a)2,

“labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do”).

                 2.   The Government’s Reverse & Credit Theory

       In addition to its auto-refill theory, the Government also alleges that even

though some “medications [at the Core Center] were never received by the intended

patient and were returned to C&M, C&M never reversed and credited the State of

Illinois for those returns.” [64] ¶ 90. Specifically, the JCI alleges that between

December 2013 and December 2015, “C&M submitted to the State of Illinois and was

paid on 287 claims from CORE Center patients that were never collected and then

returned to C&M but never reversed.” Id.

       But even if this Court accepts the premise of the reverse and credit theory—

that C&M did fail to reverse and credit the State for medications returned to it—this

portion of FCA still falls because the Government fails to plead any particular claim

that resulted from this practice. See, e.g., Kelly, 846 F.3d at 333 (explaining that the

FCA “focuses on the submission of a claim, and does not concern itself with whether

or to what extent there exists a menacing underlying scheme.”) (quoting Aflatooni,

314 F.3d at 1002); United States Ex rel. Dolan v. Long Grove Manor, Inc., No. 10 C

368, 2014 WL 3583980, at *3 (N.D. Ill. July 18, 2014) (“Indeed, because the FCA does

not create liability merely for a health care provider’s disregard of Government

regulations or improper internal practices . . . the sine qua non of a False Claims Act

violation is the submission of a fraudulent claim.”) (internal quotations omitted).




                                          47
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 48 of 65 PageID #:621




       Here, the Government alleges that the Core Center returned any unclaimed

medications to C&M, and then extrapolates, without explanation, that C&M

submitted “287 claims from CORE Center patients that were never collected and then

returned to C&M but never reversed.” Id. ¶¶ 87, 89, 90. But the Government fails

to indicate where it learned about these 287 claims, nor the specifics details of any

one of them. Id.; see also, e.g., Berkowitz, 896 F.3d at 841 (where relator alleged that

he compiled reports showing defendants sold thousands of non-compliant products,

allegation could not satisfy Rule 9(b) absent a description of the information used to

compile the reports or explanation of what particular information any sales orders

submitted by the defendants contained); Presser, 836 F.3d at 776 (plaintiffs must “use

some . . . means of injecting precision and some measure of substantiation into their

allegations of fraud.”).

       True, in Presser, the Seventh Circuit clarified that a plaintiff does not need to

present, or even include allegations about, a specific document or bill that the

defendants submitted to the Government.” 836 F.3d at 777. But in that case, the

court explained that because the relator worked as a nurse practitioner, “a position

that does not appear to include regular access to medical bills,” it did “not see how

she would have been able to plead more facts pertaining to the billing process.” Id.

at 779 (citing Corley v. Rosewood Care Ctr. Inc., 142 F. 3d 1041, 1051 (7th Cir. 1998)

(“[T]he particularity requirement of Rule 9(b) must be relaxed where the plaintiff

lacks access to all facts necessary to detail [her] claim.”)); see also United States ex

rel. Lusby v. Rolls-Royce Corp., 570 F.3d 849, 854−55 (7th Cir. 2009) (where relator’s




                                          48
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 49 of 65 PageID #:621




position as an engineer meant he knew about shipments and payments, but did not

have access to billing paperwork, it was not necessary for relator to produce invoices

at the “outset of the suit”).

       Here, in contrast, the Government has reviewed spreadsheets of records

detailing “each C&M refill submitted to Illinois Medicaid.” [64] ¶ 70. At the parties’

motion hearing, it conceded that it did not require any additional discovery or

investigation. Moreover, Relator Castillo-Baier worked in C&M’s finance department

doing billing work; the Government offers no explanation as to why she would not

have had access to specific reverse and credit billing information in this role. [65] ¶¶

17, 94.

       In short, the Government cannot “describe a private scheme in detail” but then

“allege simply and without any stated reason for [its] belief that claims requesting

illegal payments must have been submitted, were likely submitted or should have

been submitted to the Government.” Dolan, 2014 WL 3583980, at *3 (citing United

States ex rel. Clausen v. Laboratory Corp. of America, Inc., 290 F.3d 1301, 1311 (11th

Cir. 2002)). Instead, it must “link specific allegations of deceit to specific claims for

payment.” Id. (citing United States ex rel. Garst v. Lockheed-Martin Corp., 328 F.3d

374, 378 (7th Cir. 2003)). Absent a single example of a specific claim for payment,

the Government’s reverse and credit allegations do not properly allege a FCA claim.

       As stated above, the Government fails to: (1) plead any specific representation

relating to the auto-refill prohibition on the face of C&M’s claims for reimbursement;

(2) allege omitted information that renders the description of any refilled drugs




                                          49
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 50 of 65 PageID #:621




misleading; and (3) describe in sufficient detail the allegedly fraudulent auto-refill

practices.   Indeed, the Government fails to provide a single example of a claim

submitted in relation to its reverse and credit allegations. Accordingly, this Court

grants Defendants’ motion to dismiss the Government’s FCA and IFCA claims—

Counts I through IV of the JCI—without prejudice.

      D.      The Government’s Remaining Claims

      In addition to the FCA claims, Defendants also move to dismiss the

Government’s claims for common law fraud (Count V), unjust enrichment (Count VI),

and payment by mistake (Count VII) (only against Defendant Walgreens) for failure

to state a claim. [74] at 8, 14−15. For the reasons explained below, this court grants

Defendants’ motion.

              1.    JCI Count V: Common Law Fraud

      First, the Government’s common law fraud claim, Count V, falls in conjunction

with its FCA claims. To plead common law fraud under Illinois law, a plaintiff must

allege: (1) a false statement of material fact; (2) known or believed to be false by the

person making it; (3) an intent to induce the plaintiff to act; (4) action by the plaintiff

in justifiable reliance on the truth of the statement; and (5) damage to the plaintiff

resulting from such reliance. Bonhomme v. St. James, 970 N.E.2d 1, 10 (Ill. 2012)

(citing Doe v. Dilling, 888 N.E.2d 24, 35−36. (Ill. 2008)). Here, the Government’s

common law fraud claim fails because it cannot identify a single false statement,

much less one of material fact.




                                           50
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 51 of 65 PageID #:621




      The JCI fails to allege the purported false and material statements made in

connection with its common law fraud claim. [64] ¶¶ 104−106. Thus, this Court must

assume that the Government bases its common law fraud claim upon the same

representations underlying its FCA claim. See Lisitza, 276 F. Supp. 3d at 811. And

as discussed above, the Government fails to identify: (1) a specific representation

relating to the auto-refill prohibition on the face of C&M’s claims for reimbursement;

or (2) omitted information that renders the claims’ description of any refilled drugs

misleading. Nor does it allege any specific statement made in relation to the reverse

and credit theory of falsity. Absent any identifiable false statement, this Court

dismisses Count V of the JCI without prejudice. See id. at 810 (granting summary

judgment as to common law fraud claims where plaintiffs based their FCA claims

upon same representations as their common law fraud claim, and FCA claims failed

due to absence of false statement or misleading representation).

             2.    JCI Count VI & VII: Unjust Enrichment and Payment By
                   Mistake

      The Government’s remaining claims sound in Illinois state-law. The “general

rule is that, when all federal-law claims are dismissed before trial,” the pendent

claims should be left to the state courts. When determining how best to exercise its

discretion regarding the application of this general rule, this Court considers “the

nature of the state law claims at issue, their ease of resolution, and the actual, and

avoidable, expenditure of judicial resources,” among other factors. Timm v. Mead

Corp., 32 F.3d 273, 277 (7th Cir. 1994). Given that the Government’s federal claims

have been dismissed before trial, and the ease with which an Illinois court can



                                         51
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 52 of 65 PageID #:621




address its remaining state law claims, this Court (absent viable federal claims)

declines to exercise its supplemental jurisdiction over its remaining unjust

enrichment and payment by mistake claims. Counts VI and VII of the JCI are

dismissed without prejudice.

        E.      SAC Counts I through IV: Relators’ FCA Theory

        Relators base their FCA claims upon allegations that between August 2009

and October 2016, Defendants Walgreens and Kulekowskis routinely and

systematically waived copayments for Medicaid and Medicare patients in an effort to

induce: (1) patients to fill prescriptions at C&M; and (2) referrals of patients to C&M

by providers. [65] ¶¶ 3, 73. Relators also allege that C&M provided remuneration to

the Core Center by providing free pharmacy consultations. Id. ¶¶ 145−48. Pursuant

to these allegations, Relators bring claims for violations of the FCA arising from

violations of the Anti-Kickback Statute (AKS), 42 U.S.C. § 1320a-7b(b)(2) (Counts I

and II) and violations of the IFCA arising from violations of the Illinois Public

Assistance Fraud Statute (IPAFS), 305 ILCS 5/8A-3 (Counts III and IV). [65] ¶¶

223−59; see also United States ex rel. Sharp v. Consol. Med. Transp. Inc., No. 96 C

6502, 2001 WL 1035720, at *6−10 (N.D. Ill. Sept. 4, 2001) (recognizing a cause of

action under the FCA predicated upon an AKS violation). 8

        Defendants move to dismiss Counts I through IV of the SAC because it: (1)

impermissibly relies upon allegations pled on information and belief, [71] at 5−8; (2)



8The IPAFS contains “the same elements as the AKS, including unlawful renumeration.” United
States v. Omnicare, Inc., No. 11-CV-8980, 2014 WL 1458443, at *9 n.7 (N.D. Ill. Apr. 14, 2014); see also
305 ILCS 5/8A−3. Thus, this Court will apply its AKS analysis to Counts I through IV of the SAC.


                                                  52
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 53 of 65 PageID #:621




fails to allege copayment waivers with particularity, id. at 8−14; and (3) fails to allege

the pharmacy consultations with particularity, id. at 14−15. This Court agrees with

Defendants and finds that Relators fail to allege both copayment waivers and the

pharmacy consultations with sufficient particularity under Rule 9(b). As such, this

Court need not consider Defendants’ information and belief arguments.

             1.     AKS Pleading Standard & Implied False Certification
                    Theory

      The AKS prohibits, among other actions, offering or paying any remuneration,

including any kickback, bribe, or rebate, “to any person to induce such person to

purchase . . . any good . . . for which payment may be made in whole or in part under

a Federal health care program.” United States ex rel. Grenadyor v. Ukrainian Vill.

Pharm., Inc., 895 F. Supp. 2d 872, 878 (N.D. Ill. 2012) (citing 42 U.S.C. § 1320a-

7b(b)(2)), aff’d, 772 F.3d at 1109. Accordingly, to state such a claim, Relators must

allege, with Rule 9(b)’s requisite particularity, that Defendants: “(1) knowingly and

willfully (2) offered, paid, solicited or received (3) remuneration (4) in return for

purchasing or ordering any item or service for which payment may be made under a

federal health care program.” United States v. A Plus Physicians Billing Serv., 13 C

7733, 2015 WL 8780548, at *2 (N.D. Ill. Dec. 15, 2015) (citing United States v.

Omnicare, Inc., No. 11-CV-8980, 2014 WL 1458443, at *9 (N.D. Ill. Apr. 14, 2014)).

      Like the Government, Relators fail to clarify whether their AKS claim rests

upon an express or implied false certification theory. See generally [65]. As such,

this Court finds the Seventh Circuit’s decision in Grenadyor instructive. 772 F.3d

1102. There, the court explained that an implied false certification theory, based



                                           53
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 54 of 65 PageID #:621




upon waived copayments, would require the relator to allege:

      . . . that the government, had it known the defendant was billing
      Medicare or Medicare for drugs on which it had given kickbacks, would
      not have reimbursed it for any part of the cost of those sales. The theory
      treats a bill submitted to the government as an implicit assurance that
      the bill is a lawful claim for payment, an assurance that’s false if the
      firm submitting the bill knows that it’s not entitled to payment.

Id. at 1106. Here, as in Grenadyor, Relators allege that the waived copayments

resulted in claims for reimbursement the Government would not otherwise have paid.

[65] ¶ 193. Therefore, this Court treats Relators’ AKS claim as an implied false

certification claim.

               2.      Relators Fail To Allege Copayment Waivers With
                       Particularity

                       a.   Core Center Billing Group

      Defendants argue that Relators fail to identify even one specific copayment

that Defendants allegedly waived for the Core Center Billing Group, and thus that

the SAC cannot satisfy Rule 9(b) particularity with respect to this billing group’s

allegations.        Relators respond with two arguments, both of which remain

unconvincing.

      First, they argue that pursuant to Presser, a plaintiff need not present or even

include allegations about a specific document or bill submitted to the Government to

establish an FCA claim. [73] at 8−9. But as discussed above with relation to the

Government’s auto-refill claim, Relators misconstrue Presser. There, the Seventh

Circuit explained that when relators lack access to the facts necessary to detail their

claim, courts must relax 9(b)’s particularity requirement. 836 F.3d at 779 (citing




                                         54
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 55 of 65 PageID #:621




Corley, 142 F. 3d at 1051); see also Lusby, 570 F.3d at 854−55. Here, Relators concede

that they base their allegations upon:

      the personal knowledge and observations of Relator Castillo-Baier, who
      worked in the C&M finance department and was trained in the
      procedures described and Relator Svendsen-Baier, who worked with
      Kulekowskis at C&M and was shown operating statements reflecting
      C&M’s increased sales during Kulekowskis’ tenure as store manager.

[73] at 3 n.1 (internal citations omitted); [65] ¶ 94 (“Castillo-Baier was responsible for

default billing and, as part of her job duties, had to place patients into the proper

billing groups.”). Given Relators’ concession that Castillo-Baier specifically worked

in finance—the department upon which Relators’ center its copayment waiver

allegations—Presser’s relaxed particularity standard does not apply.            See also

Grenadyor, 772 F.3d at 1107 (finding that to comply with Rule 9(b), relator—a

pharmacist formerly employed with defendant pharmacy—“would have had to allege

either that the pharmacy submitted a claim to Medicare (or Medicaid) on behalf of a

specific patient who had received a kickback, or at least name a Medicare patient who

had received a kickback.”).

      Second, Relators maintain that the SAC includes an allegation of a specific

false claim. [73] at 9. They point to portions of the SAC that walk through a

particular Core Center patient’s C&M Statement of Account (the Statement), [65-3],

which they argue serves as an example of a “bad-debt” write-off for “a patient

responsibility (i.e., copayment).” [73] at 9; [65] ¶¶ 127, 133−37. The Statement

contains several entries showing a “WRITE OFF” for an undisclosed order based upon

“Bad Debt.” See [65-3] (entries for 3/27/13, 5/31/13, 7/31/13, 8/28/13, and 2/28/14).




                                           55
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 56 of 65 PageID #:621




For each of these “WRITE OFF” entries, the Statement listed the “Responsibility” as

“Patient” rather than “Illinois Medicaid.” Id. From this exhibit alone, Relators allege

that the “write-offs of ‘bad debt’ for [the patient] were systematic and routine and

based solely on [the patient] receiving treatment at the Core Center and being placed

in the Core Center – Do Not Send billing group, which resulted in the patient never

receiving a bill for copayments.”    [65] ¶ 137.    This allegation contains several

problems.

      As an initial matter, Relators’ use of the phrase “patient responsibility (i.e.,

copayment)” in the SAC indicates a fatal shortcoming—nowhere in the exhibit does

the Statement clarify what a “patient” responsibility might include, and more

specifically whether a “patient” responsibility always implies a copayment.        See

generally [65-3]; [65] ¶¶ 133−137. In fact, the SAC confirms that the term “patient

responsibilities” encompasses more than just copayments. See, e.g., [65] ¶ 128 (“As

part of these monthly finance meetings, Kulekowskis would have Mok run monthly

reports showing revenues and patient responsibilities (including copayments) for the

two Do Not Send billing groups”) (emphasis added). Further, as detailed below, the

type of medication at issue constitutes a crucial question, because AIDS drugs do not

require copayments. In other words, Relators give this Court no basis to infer that

every time the Statement listed a “patient responsibility,” it meant a mandatory

copayment.

      Further, even if this Court assumes that these patient responsibilities did

constitute copayments, the Statement and SAC fail to allege any facts to indicate that




                                         56
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 57 of 65 PageID #:621




C&M waived them improperly. Pharmacies can waive copayments so long as:

      (i) the waiver is not offered as part of any advertisements or solicitation;

      (ii) the person does not routinely waive coinsurance or deductible
      amounts; and

      (iii) the person—

             (I) waives the coinsurance and deductible amounts after
             determining in good faith that the individual is in financial need;
             or

             (II) fails to collect coinsurance or deductible amounts after
             making reasonable collection efforts.

42 U.S.C. §§ 1320a-7a(i)(6)(A)(i)−(iii).

      The Statement does not indicate, and the SAC fails to allege or otherwise

imply, that Defendants failed to conduct a good-faith determination of the patient’s

inability to pay. See [65] ¶¶ 133−37; [65-3]. Relators also fails to indicate whether

the waiver of five copayments over the course of 13 months and 130 total prescriptions

(36 of which bear the notation “patient” responsibility) constitutes a “routine”

waiver—a particularly problematic omission given that Illinois Medicaid covered the

patient, suggesting financial need. See [65-3]; Presser 836 F.3d at 780 (affirming

district court’s dismissal of FCA claims for lack of particularity where relator failed

“to demonstrate how defendant’s policies compare[d] to other clinics or could

otherwise be understood as ‘unusual.’”) Moreover, Relators fail to allege that that

any one of the waivers in the Statement served as part of a broader advertisement

effort in violation of the AKS. See Grenadyor, 772 F.3d at 1106 (affirming dismissal

of copayment waiver allegations under the AKS in part because relator “alleged no




                                           57
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 58 of 65 PageID #:621




facts that would support his allegation that the waivers were advertised” and

otherwise failed to show the copayment waivers were improper under the AKS). In

short, as described below, Relators fail to link this patient’s specific statement to any

“specific allegations of deceit.” Dolan, 2014 WL 3583980, at *3 (citing Garst, 328 F.3d

at 378).

      The parties also spend considerable time arguing whether the SAC alleges

with particularity that Defendants advertised copayment waivers, and thus by

extension whether Relators can link any deceitful conduct to a claim for payment. In

their response memorandum, Relators point to numerous paragraphs within the SAC

in an attempt to show Defendants’ advertising efforts related to the alleged

copayment waivers. [73] at 9−10 (citing [65] ¶¶ 93−105, 108−117, 126−37). But these

paragraphs fail to satisfy Rule 9(b)’s particularity requirement.

      For example, Relators allege that “patients in the Core Center of Chicago – Do

Not Send billing group were never billed for copayments for covered prescriptions;

instead, such required copayments were routinely and systematically waived.” [65]

¶ 97. In support, Relators include an image of a screenshot and cite to a redacted

accounts receivable report. Id.; [65-1]. But both the screenshot and report: (1) fail to

include any mention of advertising; and (2) show only that a billing group titled “Core

Center of Chicago – Do Not Send” existed. Id.

      Further, Relators allege that the SAC pleads advertisement efforts based upon

their allegation that “Kulekowskis told Castillo-Baier that Defendants had a deal

with Core Center, and as a result the patients were not to be billed.” [65] ¶ 105. But




                                          58
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 59 of 65 PageID #:621




the SAC fails to provide any support as to the who, what, when, where, and how of

this deal. Pirelli, 631 F.3d at 441−42. Did Kulekowskis establish a deal with Core

Center? What were the terms of any deal? When did the deal occur? How did the

deal operate, and how did the parties to the deal advertise it, if at all? Absent

additional support, a single allegation of a “deal” cannot satisfy Rule 9(b)’s heightened

pleading standard.

      Finally, Relators plead that based upon this “deal” conversation and “other”

ambiguous allegations, “Relators believe and therefore allege that Core Center

providers, including but not limited to Dr. Pamela Vergara Rodriguez and Nurse

Practitioner Maureen Gallagher, effectively ‘advertised’ Defendants’ practice of

waiving copayments for Core Center patients, and referred patients to Defendants

based on that practice.”    [65] ¶ 106.    But Relators cannot satisfy Rule 9(b) by

“effectively” pleading advertising; rather, they must allege actual instances of

advertising with particularity.

      True, Relators allege that a series of alleged conversations amounts to “word

of mouth” promotion by practitioners. [65] ¶¶ 91−92, 122−24, 105, 155, 158, 161. For

example, the SAC alleges that Castillo-Baier heard the head of C&M’s HIV

department, Pho, tell patients on the phone that there would be “no charge for your

medication.” [65] ¶¶ 87, 92. But Relators concede that the State of Illinois Cash,

SNAP, and Medical Manual (the Manual) provides that there are “no copays for the

following, even if they are provided to an adult . . . services paid by Medicare; and

certain medications, including insulin, AIDS drugs, . . . and over-the-counter drugs.”




                                          59
    Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 60 of 65 PageID #:621




[71] at 13; [73] at 13 (emphasis added). 9 Given that Pho serves as the head of the

HIV department at C&M, and the Core Center serves individuals with HIV/AIDS and

other chronic infectious diseases, [65] ¶ 76, it would be unsurprising for Castillo-Baier

to overhear Pho telling Core Center patients that they would not have to pay

copayments, id. ¶¶ 91−92, and for Core Center patients to report that their physicians

told them their medications would not require copayments, id. ¶¶ 122−124, 155. The

SAC gives this Court no indication as to whether or how Castillo-Baier or Pho

distinguished Core Center patients with exempt AIDS prescriptions versus those

with non-exempt prescriptions.         In fact, it fails to even mention the Manual or

exemption. See generally [65].

       Simply put, C&M’s copayment waivers, including the Statement attached as

an exhibit to the SAC, could have “entirely innocent explanations.” Presser, 836 F.3d

at 780; see also Pirelli, 631 F.3d at 444−45 (citing Iqbal, 129 S. Ct. at 1950 (courts

should draw on “judicial experience and common sense” in determining whether a

given claim is plausible)). Thus, Relators fail to allege any advertisement efforts with

particularity in connection with the alleged copayment waivers.

       Because Relators fail to allege facts to link the Statement to any specific

allegations of deceit, their copayment theory of FCA liability—with respect to the

Core Center billing group—does not satisfy Rule 9(b). See, e.g., Dolan, 2014 WL

3583980, at *3 (“Where an FCA claim is premised on the violation of [the AKS], the


9 This Court takes judicial notice of the Manual as a government document, available at:
http://www.dhs.state.il.us/page.aspx?item=17633. Sleeter v. Actavis Totowa, LLC, No. 10-653-GPM,
2010 WL 3781261, at *2 n.1 (S.D. Ill. Sept. 21, 2010) (citing Laborers’ Pension Fund v. Blackmore
Sewer Constr., Inc., 298 F.3d 600, 607 (7th Cir. 2002)).


                                              60
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 61 of 65 PageID #:621




underlying violation must also be pled in compliance with Rule 9(b).”) (citing United

States ex rel. Gross v. Aids Research Alliance-Chicago, 415 F.3d 601, 605 (7th Cir.

2005)); see also Grenadyor, 772 F.3d at 1107 (relator could not satisfy Rule 9(b)

particularity where he failed to allege whether customers who received kickbacks

were Medicare or Medicaid recipients, and thus it was not clear whether the

kickbacks at issue cost the government money or violated the AKS).

                    b.     General Do Not Send Billing Group

      As to the general “Do Not Send” billing group—which included Medicare and

Medicaid patients not treated by the Core Center—Relators allege that: “Defendants

(1) routinely waived the copayments; (2) did not make a financial hardship

determination; (3) did not make a good faith effort to collect; and (4) continued to

waive copayments indefinitely without determining whether the inability to pay was

an isolated circumstance.” [65] ¶ 179. Defendants argue that the SAC fails to satisfy

Rule 9(b), because it fails to identify of a single, specific patient or instance in which

C&M waived a copayment for an individual in this group. [71] at 11−12.

      In response to this argument, Relators point to an “exhibit showing literally

hundreds of patient accounts on the general Do Not Send billing group.” [73] at 12

(citing [65-2]). Because the SAC alleges that “where applicable,” C&M generally sent

invoices for copayments to patients in that billing group, [65] ¶¶ 95−96, Relators

argue that this allegation, together with the exhibit, suffices to allege an instance in

which C&M improperly waived a copayment for individuals in this group. [73] at 12.

      Not so. As Grenadyor made abundantly clear with respect to copayment-




                                           61
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 62 of 65 PageID #:621




related AKS claims, to “comply with Rule 9(b) Grenadyor would have had to allege

either that the pharmacy submitted a claim to Medicare (or Medicaid) on behalf of a

specific patient who had received a kickback, or at least name a Medicare patient who

had received a kickback.”     772 F.3d at 1107.      Here, at most, Relators’ exhibit

demonstrates that hundreds of patients belonged to the general “Do Not Send” billing

group. [65-1]. The SAC fails to allege that C&M waived a copayment, and thus

submitted a false claim for payment, for any one of these specific patients. See [65]

¶¶ 95−96, 179−182. Rather it states only that “if a patient called to Defendants to

say that the patient could not pay a particular individual invoice, the patient was

permanently placed in the general Do Not Send billing group” and from that point

on, “no good faith effort was made to collect any future copayments.” [65] ¶ 180.

      Absent any allegation as to: (1) who at C&M received these calls, or generally

how Relators came in possession of this secondhand information; and (2) a specific

patient, waiver, or claim, Relators’ general “do not send” billing group allegations fail

under Rule 9(b).

                    c.     C&M’s Pharmacy Consultations

      Relators’ final AKS theory relies upon its allegations concerning pharmacy

consultations. The SAC alleges that approximately once a month, C&M paid Pho to

travel to Chicago and provide free pharmacist consultations to patients, doctors,

and/or nurses to discuss side effects or dosing issues with HIV medications. [65] ¶¶

146−47. According to Relators, the “provision of free pharmacist consultations was a

kickback designed to induce referrals of patients to Defendants, including patients




                                          62
   Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 63 of 65 PageID #:621




covered by the Government Healthcare Programs.” [65] ¶ 153. Defendants move to

dismiss, again based upon Rule 9(b) particularity. [71] at 14−15. This Court agrees,

as Relators fail to come remotely close to alleging the “who, what, when, where, and

how” of this alleged fraud. Pirelli, 631 F.3d at 441−42.

      Relators respond that C&M used the pharmacy consultations as part of the

“deal” to waive copayments and provide special treatment to Core Center patients,

and thus the consultations were “tied to the provision of other services reimbursed in

whole or in part by Medicare and Medicaid.” [73] at 15. But Relators fail to offer any

allegation, much less one with particularity, to make this connection. During what

time period, or for how long, did these consultations take place “once a month”? Did

C&M submit any claims for payment on behalf of a specific patient who received a

consultation? Did C&M advertise the consultations? Relators have “not pled or

argued that the answer to these questions is yes, and common sense says that the

answer to each is likely no.” Pirelli, 631 F.3d at 444−45 (internal citation omitted);

see also See, e.g., Dolan, 2014 WL 3583980, at *3 (citing Gross, 415 F.3d at 605).

      And again, as with copayment waivers, the AKS allows free consultations

provided that: (1) the items or services are not offered as part of any advertisement

or solicitation; (2) the items or services are not tied to the provision of other services

reimbursed in whole or in part by a government health care program; (3) there is a

reasonable connection between the items or services and the medical care of the

individual. 42 U.S.C. § 1320-7a(i)(6)(H). In fact, given that Pho led C&M’s HIV

department, it seems expected that she “would meet with patients to discuss side




                                           63
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 64 of 65 PageID #:621




effects or dosing issues with HIV medications” and “discuss similar issues with

doctors or nurses.” [65] ¶ 147.

      Absent additional, particularized allegations, Relators cannot link a specific

consultation to a specific claim for payment.        Accordingly, this Court grants

Defendants’ motion to dismiss Relators’ FCA and IFCA claims—Counts I through IV

of the SAC—without prejudice.

IV.   Conclusion

      For the reasons explained above, this Court grants Defendants’ motions to

dismiss, [68] [70], and dismisses the JCI [64] and SAC [65]. At the November 20,

2018 hearing, the Government declined an offer under this Court’s standing orders

to file an amended joint complaint in intervention addressing the issues raised in the

motion to dismiss, [68], and conceded that it did not require any additional discovery

or investigation. Relators have now amended their complaint twice. [65]. While this

motion remained under advisement, neither the Government nor Relators requested

leave to amend their complaints, sought to compel written discovery from

Defendants, or otherwise requested the ability to take any depositions. Accordingly,

if the Government or Relators intend to file any further amendments to their

complaints, consistent with this order and the parties’ Rule 11 obligations, they must

do so within 21 days of this order. In light of the prior opportunities to amend and/or

conduct discovery, and the parties’ good-faith obligation to conduct a pre-filing

investigation of this matter, any failure to replead within 21 days of this order will




                                         64
  Case: 1:14-cv-01558 Document #: 82 Filed: 09/30/19 Page 65 of 65 PageID #:621




result in conversion of the dismissal of the Government and Relators’ complaints to

a dismissal with prejudice.


Dated: September 30, 2019


                                             Entered:



                                             ____________________________________
                                             John Robert Blakey
                                             United States District Judge




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